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                                                                           11
                                                                                                      UNITED STATES DISTRICT COURT
                                                                           12
                                                                           13                       CENTRAL DISTRICT OF CALIFORNIA

                                                                           14   ANTHONY RAY GONZALEZ,                        Case No.: 2:24-cv-11234
                                                                                individually and on behalf of all others
                                                                           15   similarly situated,                          CLASS ACTION COMPLAINT
                                                                           16                      Plaintiff,                   1. VIOLATION OF UNFAIR
                                                                           17                                                      COMPETITION LAW (CAL.
                                                                                     v.                                            BUS. & PROF. CODE §§
                                                                           18                                                      17200, ET SEQ.)
                                                                                SAMSUNG ELECTRONICS                             2. VIOLATION OF FALSE
                                                                           19   AMERICA, INC.,                                     ADVERTISING LAW (CAL.
                                                                           20                                                      BUS. & PROF. CODE § 17500,
                                                                                                   Defendant.                      ET SEQ.)
                                                                           21                                                   3. VIOLATION OF CONSUMERS
                                                                                                                                   LEGAL REMEDIES ACT
                                                                           22                                                      (CAL. CIV. CODE §§ 1750, ET
                                                                                                                                   SEQ.)
                                                                           23                                                   4. FRAUD
                                                                           24                                                   5. FRAUDULENT INDUCEMENT
                                                                                                                                6. FRAUDULENT
                                                                           25                                                      CONCEALMENT OR
                                                                                                                                   OMISSION
                                                                           26                                                   7. FRAUDULENT
                                                                           27                                                      MISREPRESENTATION
                                                                                                                                8. NEGLIGENT
                                                                           28                                                      MISREPRESENTATION

                                                                                                           CLASS ACTION COMPLAINT
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                                                                                                                                   9. QUASI-CONTRACT / UNJUST
                                                                                      1                                               ENRICHMENT
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                                                                                                                                JURY TRIAL DEMAND
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                                                                                                                                ACTION SEEKING STATEWIDE
                                                                                      4                                         AND NATIONWIDE RELIEF
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                                                                                                                 CLASS ACTION COMPLAINT
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                                                                            1         1.     Plaintiff Anthony Ray Gonzalez (“Plaintiff”), individually and on behalf
                                                                            2   of all others similarly situated, as more fully described below (the “Class” and “Class
                                                                            3   Members”), brings this class action complaint against Defendant Samsung
                                                                            4   Electronics America, Inc., (“Defendant”), and allege the following based upon
                                                                            5   information and belief, unless otherwise expressly stated as based upon personal
                                                                            6   knowledge.
                                                                            7                                 I.     INTRODUCTION
                                                                            8         2.     Plaintiff brings this lawsuit on behalf of himself and all similarly situated
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                                                                            9   consumers (“Class Members”) who purchased the Samsung Galaxy Watch
                                                                           10   Fluoroelastomer Band, Sport Band (20mm), Sport T-Buckle Band, Rugged Sport
                                                                           11   Band, Extreme Sport T-Buckle Band, and D-Buckle Hybrid Eco-Leather Band (the
                                                                           12   “Products”). Defendant advertises these Products as designed to support and further
                                                                           13   human health and wellness, environmentally sustainable, and suitable for everyday
                                                                           14   use and wear. However, in truth, they contain excessive levels of per- and
                                                                           15   polyfluoroalkyl substances (“PFAS”), which are toxic to human health and the
                                                                           16   environment.
                                                                           17         3.     PFAS chemicals, often called “forever chemicals,” have special
                                                                           18   characteristics that cause extensive environmental contamination. They have also
                                                                           19   been linked to various serious public health problems, including prostate and kidney
                                                                           20   cancer, pregnancy complications, and more. PFAS do not readily break down in the
                                                                           21   environment or even in conventional treatment systems. These features make them
                                                                           22   difficult and expensive to remove. 1 Despite these known dangers to human health and
                                                                           23   the environment, manufacturers use PFAS due to their low cost and wide availability.
                                                                           24   Alternatives exist, however, and responsible companies use them. For example,
                                                                           25
                                                                           26   1
                                                                                 Alison L. Ling, Estimated scale of costs to remove PFAS from the environment at
                                                                           27   current emission rates. Science of The Total Environment (March 25,
                                                                                2024), https://doi.org/10.1016/j.scitotenv.2024.170647. (Last visited December 31,
                                                                           28   2024).
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                                                                                                          CLASS ACTION COMPLAINT
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                                                                            1   smartwatch bands made of silicone are flexible, water-resistant, and durable, but lack
                                                                            2   the harmful effects of bands containing toxic PFAS.
                                                                            3         4.    A leading reason consumers purchase smartwatches is to monitor and
                                                                            4   improve their health on a daily basis. These health-conscious consumers reasonably
                                                                            5   seek smartwatches that are safe for everyday use and to further their health overall.
                                                                            6   Environmental sustainability is also a top consideration. Aware of these material
                                                                            7   purchase drivers, Defendant purposely implemented a pervasive and widespread
                                                                            8   marketing campaign across all media channels for the Products, focusing on health,
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                                                                            9   well-being, and environmental sustainability, even inviting all consumers to “start
                                                                           10   their wellness journey” with its smartwatches and Products. Consumers thus purchase
                                                                           11   the Products with consideration toward, and reasonably expect quality, safety, and
                                                                           12   sustainability to further and protect their own health while minimizing environmental
                                                                           13   impact, consistent with Defendant’s promises and overall branding. These promises
                                                                           14   are especially important to the consumers that Defendant targets, when one considers
                                                                           15   that the primary reported use of smartwatches is to track and further fitness and health,
                                                                           16   and because they are often worn for over 12 hours per day, and even throughout the
                                                                           17   night, as directed and intended by Defendant. Given these uses, consumers expect the
                                                                           18   Products to be conducive to human health, safe to wear for prolonged periods of time,
                                                                           19   and certainly free from dangerous chemicals. These reasonable assumptions are
                                                                           20   otherwise reinforced by Defendant’s purposeful, widespread, and pervasive Product
                                                                           21   advertising focused on health, wellness, and environmental stewardship. Consumers
                                                                           22   also reasonably rely on manufacturers to accurately and completely disclose
                                                                           23   significant and hidden dangers posed by products, especially where, as here, the
                                                                           24   Product is advertised and sold as designed for, and to further, human health and
                                                                           25   wellness.
                                                                           26         5.    As a global leader in the over 50-billion-dollar smartwatch industry,
                                                                           27   Defendant profits substantially from consumers who desire safe and sustainable
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                                                                                                          CLASS ACTION COMPLAINT
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                                                                            1   smartwatches to track and further their health and who believe the company’s
                                                                            2   pervasive and false promises surrounding health, wellness, and environmental
                                                                            3   sustainability. Consistent with Product advertising, Defendant consistently markets
                                                                            4   itself as a company that “care[s] about [their] customers and employees’ health and
                                                                            5   their environments”2 that strives to “minimize any potential adverse effects on the
                                                                            6   health of [their] customers.”3 Against this backdrop, the public was reasonably
                                                                            7   outraged, as widely reported in the press, when it was revealed that Defendant’s
                                                                            8   Products instead contain toxic PFAS chemicals that harm humans and the
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                                                                            9   environment, and at excessive levels. Worse, the presence of excessive PFAS in the
                                                                           10   Products was and is avoidable, as it was also reported that several bands on the market
                                                                           11   are made of different materials that do not contain excessive levels of PFAS.4
                                                                           12   Defendant also could have chosen not to expose the health-conscious consumers it
                                                                           13   targets to the harmful toxins, by using different material for its watchbands, but it
                                                                           14   elected not to. This not only harms consumers but it also gives Defendant an unfair
                                                                           15   competitive advantage over those in the market who decline to affirmatively promise
                                                                           16   health or environmental sustainability, or who deliver on those promises by using the
                                                                           17   otherwise widely-available materials not containing excessive levels of toxic
                                                                           18   substances that, here, are absorbed by the skin during daily, all-day long use as
                                                                           19   intended—and on the undersides of the wrists where the skin absorption rate of toxic
                                                                           20   chemicals like PFAS is heightened.
                                                                           21         6.    Background. Per- and polyfluoroalkyl substances (“PFAS”) are a group
                                                                           22   of synthetic chemical compounds used to make fluoropolymer coatings that resist
                                                                           23   heat, oil, stains, grease, and water in a variety of consumer products and
                                                                           24
                                                                           25   2
                                                                                  Sustainability in Operations, SAMSUNG,
                                                                           26   https://www.samsung.com/global/sustainability/planet/sustainable-operations/ (last
                                                                                accessed Dec. 30, 2024).
                                                                                3
                                                                           27     Id.
                                                                                4
                                                                                  See e.g., Google’s Pixel Watch Woven Band (made of recycled yarn) or FitBit’s
                                                                           28   Sport Band for (made of silicone).
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                                                                                                          CLASS ACTION COMPLAINT
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                                                                            1   manufacturing applications. The same properties that make PFAS excellent at
                                                                            2   resisting water and stains make them nearly impossible to break down via natural
                                                                            3   processes in the human body or the environment. PFAS are highly toxic,
                                                                            4   bioaccumulative, and persistent organic pollutants, and as such are commonly
                                                                            5   described as “forever chemicals.” Since the 1970s, when occupational studies
                                                                            6   detected PFAS in the blood of certain workers,5 a growing body of scientific research
                                                                            7   has proven the severe health consequences they cause. Current peer-reviewed
                                                                            8   scientific studies demonstrate that PFAS cause negative reproductive effects, negative
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                                                                            9   developmental effects, or delays in children, increased risk of cancers, reduced ability
                                                                           10   of the body’s immune system to fight infections, interference with the body’s natural
                                                                           11   hormones, and increased risk of obesity.6,7 Even at extremely low exposure levels,
                                                                           12   PFAS cause serious health effects, including suppression of the immune system,
                                                                           13   endocrine disruption, accelerated puberty, liver damage, and thyroid changes.8 They
                                                                           14   are proven equally harmful to the environment. As a result, as society has increasingly
                                                                           15   become more health-conscious and concerned for the environment, consumers seek
                                                                           16   to avoid or reduce unnecessary exposure to toxic chemicals like PFAS, with harm
                                                                           17   reduction a key goal.
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                                                                           19   5
                                                                                  History and Use of Per- and Polyfluoroalkyl Substances (PFAS) Found in the
                                                                           20   Environment, INTERSTATE TECHNOLOGY REGULATORY COUNCIL (Sept. 27, 2023),
                                                                                https://pfas-1.itrcweb.org/wp-content/uploads/2023/10/HistoryandUse_PFAS_Fact-
                                                                           21   Sheet_Sept2023_final.pdf.
                                                                                6
                                                                                  Our Current Understanding of the Human Health and Environmental Risks of
                                                                           22   PFAS, UNITED STATES ENVIRONMENTAL PROTECTION AGENCY (June 7, 2023),
                                                                           23   https://www.epa.gov/pfas/our-current-understanding-human-health-and-
                                                                                environmental-risks-pfas.
                                                                           24   7
                                                                                  Cook, K. The PFAS and the Furious, ENVIRONMENTAL WORKING GROUP (Sept. 17,
                                                                                2020), https://www.ewg.org/research/the-pfas-and-the-furious/. (Last visited Dec.
                                                                           25   31, 2024).
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                                                                                  Louisse, J. et al., Perfluorooctanoic acid (PFOA), perfluorooctane sulfonic acid
                                                                                (PFOS), and perfluorononanoic acid (PFNA) increase triglyceride levels and
                                                                           27   decrease cholesterogenic gene expression in human HepaRG liver cells, ARCHIVES
                                                                                OF TOXICOLOGY, 94, 3137–3155 (2020), https://doi.org/10.1007/s00204-020-02808-
                                                                           28   0. (Last visited June 26, 2024).
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                                                                                                           CLASS ACTION COMPLAINT
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                                                                            1         7.    Despite growing consumer awareness, well-documented harms, and a
                                                                            2   worldwide movement to remove or reduce toxic PFAS from production materials and
                                                                            3   processes, Defendant’s Products contain PFAS in the Products’ fluoroelastomer
                                                                            4   material (also known as “FKM”), at levels that render them an unreasonable safety
                                                                            5   hazard. The harm is especially pronounced here given that, when the Product is used
                                                                            6   as intended and directed, the toxic chemicals remain in contact with the skin daily and
                                                                            7   all day long, including the underside of the wrist where the body’s absorption rate of
                                                                            8   the toxic chemicals is heightened.9
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                                                                            9         8.    By pervasively advertising the watches as designed to further health,
                                                                           10   wellness, and sustainability, while encouraging daily/nightly use, Defendant misleads
                                                                           11   Plaintiff and consumers like him, causing them to overpay for Products that do not
                                                                           12   deliver advertised benefits and to forego safe alternatives available on the market.
                                                                           13   Defendant therefore enjoys an unfair competitive advantage, receiving millions of
                                                                           14   dollars from consumers in ill-gotten proceeds while putting the health and welfare of
                                                                           15   millions of consumers and their families at risk due to the Product’s intended daily
                                                                           16   use and concomitant prolonged absorption of toxic chemicals into the skin. Defendant
                                                                           17   could have avoided the unreasonable safety and environmental hazard with available
                                                                           18   manufacturing alternatives, and its failure to do so while continuing to promise
                                                                           19   consumers health, wellness, and sustainability is unlawful, unfair, and fraudulent
                                                                           20   under consumer protection laws.
                                                                           21         9.    Challenged Representations and Material Omission. In an effort to
                                                                           22   increase profits and gain an unfair advantage over its lawfully acting competitors,
                                                                           23   Defendant, misleadingly and materially omits, on all relevant marketing and
                                                                           24   advertising, that the Products contain toxic PFAS (the “Material Omission”).
                                                                           25   Instead, Defendant falsely and misleadingly markets and advertises its Products with
                                                                           26   9
                                                                                  Oddný Ragnarsdóttir et. al., Dermal bioavailability of perfluoroalkyl substances
                                                                           27   using in vitro 3D human skin equivalent models, Environmental International (Jun.
                                                                                2024), https://www.sciencedirect.com/science/article/pii/S0160412024003581 (last
                                                                           28   accessed Dec. 27, 2024).
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                                                                                                         CLASS ACTION COMPLAINT
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                                                                            1   the   widespread      and     pervasive   claims     (hereinafter,   the    “Challenged
                                                                            2   Representations”) including:
                                                                            3            • “Start your wellness journey”10
                                                                            4            • “Buckle up for all-day action” 11
                                                                            5            • “This sporty band will accompany you in your outdoor workouts and
                                                                            6               daily activities.”12
                                                                            7            • “Galaxy Watch Active2’s straps are made of a flexible fluoroelastomer
                                                                            8               that’s gentle on the wrist.”13
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                                                                            9            • “[the D-Buckle Hybrid Eco-Leather Band] contains a blend of FKM and
                                                                           10               material partially derived from plant-based sources, making it both
                                                                           11               durable and environmentally conscious.”14
                                                                           12         10. Defendant also represents sustainability features in its products, including
                                                                           13   the Galaxy Watches with the toxic bands. Specifically, Defendant markets a UL
                                                                           14   ECOLOGO Certification for the Galaxy Watch 3 series (2020), 4 series (2021), 5
                                                                           15   series (2022), 6 series (2023), 7 series, Ultra, and FE (2024). 15 One of the criteria for
                                                                           16   ECOLOGO certification is the use of safe materials that do not cause harm to either
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                                                                                   Watches, SAMSUNG, https://www.samsung.com/us/watches/ (last accessed Dec. 27,
                                                                           19   2024).
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                                                                                   Galaxy Watch Rugged Sport Band, SAMSUNG,
                                                                           20    https://www.samsung.com/us/mobile/mobile-accessories/smartwatches/galaxy-
                                                                                watch-rugged-sport-band-m-l-gray-et-sdr91ljeguj/ (last accessed Dec. 27, 2024).
                                                                           21   12
                                                                                   Galaxy Watch Rugged Sport Band, SAMSUNG,
                                                                                https://www.samsung.com/us/mobile/mobile-accessories/smartwatches/galaxy-
                                                                           22   watch-rugged-sport-band-s-m-black-et-sdr90sbeguj/.
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                                                                                   Sport Band, SAMSUNG, https://www.samsung.com/us/mobile/mobile-
                                                                                accessories/smartwatches/sport-band-for-galaxy-watch-active2-vivid-green-et-
                                                                           24   sfr82mgeguj/.
                                                                                14
                                                                                   Galaxy Watch D-Buckle Hybrid Eco-Leather Band, SAMSUNG,
                                                                           25   https://www.samsung.com/us/mobile/mobile-accessories/smartwatches/galaxy-
                                                                           26   watch-d-buckle-hybrid-eco-leather-band-m-l-camel-et-shr94ldeguj/ (last accessed
                                                                                Dec. 31, 2024).
                                                                           27
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                                                                                   UL ECOLOGO Certification, SAMSUNG,
                                                                                https://www.samsung.com/global/sustainability/popup/popup_doc/AYYFuK0KA0
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                                                                            1   people or the environment. 16 In truth, Defendant’s Products harm both.
                                                                            2         11. The Challenged Representations also include Defendant’s representations
                                                                            3   concerning its commitment to environmental sustainability by stating: “We don’t stop
                                                                            4   at ‘good enough’, because we care about our customers and employees’ health and
                                                                            5   their environments[,]” “We strive to minimize any potential adverse effects on the
                                                                            6   health of our customers, employees, or to the environment that may arise from
                                                                            7   products containing hazardous substances or chemicals used at our manufacturing
                                                                            8   sites[,]” and promising to “Reduc[e] the use of hazardous substances for the health of
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                                                                            9   our customers and employees.”17 Defendant goes on to tout their “environmental
                                                                           10   consciousness,” highlighting their environmental certifications such as the United
                                                                           11   States Electronic Product Environmental Assessment Tool (EPEAT), as well as their
                                                                           12   “management of hazardous and chemical substances in their products.”18
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                                                                                      12. The Challenged Representations also include Samsung’s health focused
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                                                                                messaging discussed below and wide-spread recommendations to use the
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                                                                                16
                                                                                   Zach Stein, ECOLOGO Certification Program, Carbon Collective (Oct. 1, 2024),
                                                                                https://www.carboncollective.co/sustainable-investing/ecologo-certification-
                                                                           24   program; see also ECOLOGO Certification Program, UL Solutions,
                                                                                https://www.ul.com/resources/ecologo-certification-program (last accessed Dec. 31,
                                                                           25   2024).
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                                                                                   Sustainability in Operations, SAMSUNG,
                                                                                https://www.samsung.com/global/sustainability/planet/sustainable-operations/ (last
                                                                           27   accessed Dec. 30, 2024).
                                                                                18
                                                                                   Sustainability, SAMSUNG,
                                                                           28   https://www.samsung.com/us/sustainability/environment/eco-conscious-products/
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                                                                            1   unreasonably hazardous watches day and night to track exercise routines, heartbeat,
                                                                            2   wellness, and sleep. For example, Defendant reiterates that the watch (with its
                                                                            3   preinstalled applications) should be used to “improve[] sleep” and “wellness”, “guide
                                                                            4   [consumers] through healthier sleeping patterns,” “help track [sleep] progress,”
                                                                            5   “create a personalized heart rate zone based on [person’s] activities,” and track
                                                                            6   “irregular heart rhythms.”19
                                                                            7         13. Defendant’s health-focused messaging is part of its pervasive and
                                                                            8   widespread marketing campaign across all media. For example, Defendant has
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                                                                            9   combined Galaxy AI with Samsung Health to “help you improve your daily
                                                                           10   wellness.” 20 Vice President and Head of Digital Health Team, Mobile eXperience
                                                                           11   Business at Samsung Electronics Dr. Hon Pak even emphasizes “Samsung’s desire to
                                                                           12   be a changing force in consumers’ health.” 21 According to Samsung, “uniting []
                                                                           13   health data” in their Galaxy devices such as the Galaxy smartwatches exemplifies
                                                                           14   their “vision [] to improve the health of billions….”22 Indeed, Samsung has an entire
                                                                           15   page titled “Samsung Health,” purporting to empower consumers to take control of
                                                                           16   their health; on that same page, the Galaxy smartwatches, with their toxic bands, are
                                                                           17   prominently displayed:23
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                                                                                   Explore the new features on the Galaxy Watch6 Series, SAMSUNG,
                                                                                https://www.samsung.com/us/support/answer/ANS00092492/?msockid=2f5e429e81
                                                                           21   c7677423a257bf802966ca.
                                                                                20
                                                                                   Galaxy AI is Coming to New Galaxy Watch for More Motivational Health,
                                                                           22   SAMSUNG MOBILE PRESS, https://www.samsungmobilepress.com/media-
                                                                           23   assets/galaxy-watch6/ (last accessed Dec. 30, 2024).
                                                                                21
                                                                                   Carolina Milanesi, Samsung’s Mission to Support Customers’ Quest for Better
                                                                           24   Health, FORBES, (updated May 7, 2023),
                                                                                https://www.forbes.com/sites/carolinamilanesi/2023/05/07/samsungs-mission-to-
                                                                           25   support-customers-quest-for-better-health/.
                                                                                22
                                                                           26      Solving the Digital Health Dilemma: Samsung’s Vision for an Intelligent Health
                                                                                Platform, SAMSUNG NEWS (Feb. 26, 2024), https://news.samsung.com/us/solving-
                                                                           27   the-digital-health-dilemma-samsungs-vision-for-an-intelligent-health-platform/.
                                                                                23
                                                                                   Samsung Health, SAMSUNG, https://www.samsung.com/us/apps/samsung-
                                                                           28   health/?msockid=15e4ccdcf63e65591dcedc7ef7d0643e.
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                                                                           14         14. Despite health and environmental promises to the contrary, Defendant
                                                                           15   continues to manufacture and sell the Products, which contain the unreasonably
                                                                           16   hazardous “forever chemical” perfluorohexanoic acid (PFHxA), a dangerous form of
                                                                           17   PFAS that pose significant harms to people and the environment. The elevated levels
                                                                           18   of PFAS present in these Products are particularly hazardous given the intended
                                                                           19   prolonged and direct skin contact and continuous wearing of Defendant’s Products –
                                                                           20   all day or all night, every day – as directed by Defendant to monitor consumers’
                                                                           21   health, wellness, and sleep. The intended wearing of the watches on the underside of
                                                                           22   the wrist, combined with body heat and thin layer of skin, makes these toxic chemicals
                                                                           23   particularly prone to absorption. PFAS or other chemicals absorption through the skin
                                                                           24   has been known for decades.24
                                                                           25
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                                                                                  Jennifer Franko et. al., Dermal Penetration Potential of Perfluorooctanoic Acid
                                                                                (PFOA) in Human and Mouse Skin, Journal of Toxicology and Environmental
                                                                           27   Health (Nov. 2, 2011),
                                                                                https://www.tandfonline.com/doi/full/10.1080/15287394.2011.615108 (scientific
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                                                                            1         15. In developing the unreasonably hazardous and dangerous Products, which
                                                                            2   Defendant markets for everyday wear, Defendant knew or, at a minimum, should have
                                                                            3   known the danger the Products carry to human health, especially for Products with
                                                                            4   the daily/nightly and prolonged contact with the skin on the underside of the wrist,
                                                                            5   where body’s absorption rate of the toxic chemicals is heightened.
                                                                            6         16. The Products. The Products at issue (including Samsung products listed
                                                                            7   in Figure 1 below, ¶ 20) are sold to consumers in the United States and the State of
                                                                            8   California, and contain the Material Omission or one of the Challenged
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                                                                            9   Representations as part of the Products’ pervasive, consistent, and widespread false
                                                                           10   advertising across the web and all other media (collectively referred to herein and
                                                                           11   throughout this complaint as the “Products”).
                                                                           12         17. The Deception of the Challenged Representations and Unlawful
                                                                           13   Marketing & Sale of the Products. The Material Omission and Challenged
                                                                           14   Representations mislead reasonable consumers into believing the Products are safe
                                                                           15   for everyday wear and use, environmentally sustainable, and designed specifically to
                                                                           16   further human health and, thus, free from toxic chemical substances like PFAS, which
                                                                           17   are harmful to the environment and pose risk of serious harm to humans, especially
                                                                           18   when absorbed by the skin daily and all day long, as per use directed and intended by
                                                                           19   Defendant, and on the underside of the wrist, where the body’s absorption rate of the
                                                                           20   toxic chemicals is heightened. However, the Products fail to live up to Defendant’s
                                                                           21   promises. Instead, Products are toxic to consumers due to the presence of PFAS,
                                                                           22   confirmed by a recent study investigating the level of PFAS in multiple smartwatch
                                                                           23   bands, including Defendant’s. 25 By falsely, misleadingly, and deceptively marketing
                                                                           24
                                                                                article in 2012 regarding dermal absorption of PFOAS, a type of PFA, concluding
                                                                           25   that PFOA is “dermally absorbed and under certain conditions the skin may be
                                                                           26   significant route of exposure”)
                                                                                25
                                                                                   Alyssa Wicks, Heather D. Whitehead, and Graham F. Peaslee, Presence of
                                                                           27   Perfluorohexanoic Acid in Fluoroelastomer Watch Bands, Environmental Science
                                                                                & Technology Letters (Dec. 18, 2024),
                                                                           28   https://pubs.acs.org/doi/10.1021/acs.estlett.4c00907.
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                                                                            1   the Products with the Material Omission and Challenged Representations, Defendant
                                                                            2   has sought to take advantage of consumers’ desire for safe and sustainable smartwatch
                                                                            3   bands. In this way, Defendant has charged consumers a premium for Products that
                                                                            4   comport with the Challenged Representations that they would not have otherwise paid
                                                                            5   if Defendant disclosed the Material Omission. Defendant has done so at the expense
                                                                            6   of unwitting consumers, as well as Defendant’s lawfully acting competitors, over
                                                                            7   whom Defendant maintains an unfair competitive advantage. Accordingly,
                                                                            8   Defendant’s Challenged Representations and Material Omission are misleading and
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                                                                            9   deceptive, and therefore unlawful.
                                                                           10         18. Below is a fair and accurate depiction of some of the Products. 26
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                                                                           23   26
                                                                                  See Defendant’s official website: Galaxy Watch Sport Band, Samsung,
                                                                           24   https://www.samsung.com/us/mobile/mobile-accessories/smartwatches/sport-band-
                                                                                for-galaxy-watch-active2-vivid-green-et-sfr82mgeguj/ (last accessed Dec. 27, 2024);
                                                                           25   Galaxy Watch Fluoroelastomer Band, SAMSUNG,
                                                                           26   https://www.samsung.com/us/mobile/mobile-accessories/smartwatches/silicone-
                                                                                band-for-galaxy-watch-active--galaxy-watch-42mm--black-et-sfr50mbeguj/          (last
                                                                           27   accessed Dec. 27, 2024); Galaxy Watch Sport T-Buckle Band Band, SAMSUNG,
                                                                                https://www.samsung.com/us/mobile/mobile-accessories/smartwatches/galaxy-
                                                                           28   watch-sport-t-buckle-band-m-l-graphite-et-sfr94lbeguj/ (last accessed Dec. 27, 2024)
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                                                                            1         19. PFAS Testing. Research confirms that PFAS can be absorbed by the
                                                                            2   skin and enter the bloodstream, and thus, dermal exposure can be a significant
                                                                            3   source of exposure to PFAS.27 This is of particular concern to smartwatch users,
                                                                            4   which are often worn for many hours a day, including overnight, to track sleep
                                                                            5   patterns and other health data. Defendant thus promotes long-term exposure to PFAs
                                                                            6   directly on, and through, the skin by directing the public to wear its Products, which
                                                                            7   contain elevated levels of toxic substances.
                                                                            8         20. A study published in Environmental Science & Technology Letters28
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                                                                            9   tested multiple smartwatch band samples, including Samsung’s fluoroelastomer
                                                                           10   smartwatch bands, using particle-induced gamma-ray emission ion beam analysis and
                                                                           11   liquid chromatography-tandem mass spectrometry to determine the material’s total
                                                                           12   fluorine content and identify the specific type of polyfluoroalkyl substances (PFAS)
                                                                           13   present. Defendant Samsung was among the brands of fluoroelastomer watch band
                                                                           14   manufacturers tested in the study. Elevated levels of fluorine were found in the
                                                                           15   midrange ($15-30) and expensive (>$30) smartwatch bands. The Products meet or
                                                                           16   exceed the $30 price point, falling in the “expensive” range, according to the study.29
                                                                           17   See Figure 1 below. Ultimately, it was determined that the “expensive” smartwatch
                                                                           18   bands, including Defendant’s, contained significantly elevated levels of fluorine
                                                                           19   (from 49.7% - 90.7%), an indicator of the presence of PFAS. Elevated levels of the
                                                                           20   PFA perfluorohexanoic acid (PFHxA) were also more prevalent in mid-range and
                                                                           21   expensive watch bands that exceeded $15. According to the study, the median
                                                                           22   concentration for samples with detectable PFHxA, 773 ng/g, is very high in
                                                                           23
                                                                           24   27
                                                                                   Oddný Ragnarsdóttir et. al., Dermal bioavailability of perfluoroalkyl substances
                                                                                using in vitro 3D human skin equivalent models, ENVIRONMENTAL
                                                                           25   INTERNATIONAL (Jun. 2024),
                                                                           26   https://www.sciencedirect.com/science/article/pii/S0160412024003581 (last
                                                                                accessed Dec. 27, 2024).
                                                                           27
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                                                                                   Wicks et. al., supra n. 25.
                                                                                29
                                                                                   Samsung watchbands were tested in this study, and their band price ranges fall in
                                                                           28   the “expensive” range according to the study.
                                                                                                                         12
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                                                                            1   comparison to other recent studies, which, combined, had observed PFHxA
                                                                            2   concentrations up to 199 ng/g.30
                                                                            3   Figure 1
                                                                            4                  Fluoroelastomer Band 31            $30.00

                                                                            5
                                                                                                     Sport Band 32                $30.00
                                                                            6
                                                                                                Sport T-Buckle Band 33            $49.99
                                                                            7
                                                                                                 Rugged Sport Band 34             $49.99
                                                                            8
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                                                                                               Extreme Sport T-Buckle             $49.99
                                                                            9
                                                                                                        Band 35
                                                                           10
                                                                                                D-Buckle Hybrid Eco-              $79.99
                                                                           11
                                                                                                    Leather Band36
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                                                                                   Wicks et. al., supra n. 25.
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                                                                                   Galaxy Watch Fluoroelastomer Band, SAMSUNG,
                                                                                https://www.samsung.com/us/mobile/mobile-accessories/smartwatches/silicone-
                                                                           17   band-for-galaxy-watch-active--galaxy-watch-42mm--black-et-sfr50mbeguj/         (last
                                                                                accessed Dec. 27, 2024).
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                                                                                   Galaxy Watch Sport Band, SAMSUNG,
                                                                           19   https://www.samsung.com/us/mobile/mobile-accessories/smartwatches/sport-band-
                                                                                for-galaxy-watch-active2-vivid-green-et-sfr82mgeguj/ (last accessed Dec. 27, 2024).
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                                                                                   Galaxy Watch Sport T-Buckle Band Band, SAMSUNG,
                                                                                https://www.samsung.com/us/mobile/mobile-accessories/smartwatches/galaxy-
                                                                           21   watch-sport-t-buckle-band-m-l-graphite-et-sfr94lbeguj/ (last accessed Dec. 27,
                                                                                2024).
                                                                           22   34
                                                                                   Galaxy Watch Rugged Sport Band, SAMSUNG,
                                                                           23    https://www.samsung.com/us/mobile/mobile-accessories/smartwatches/galaxy-
                                                                                watch-rugged-sport-band-m-l-gray-et-sdr91ljeguj/ (last accessed Dec. 27, 2024).
                                                                           24   35
                                                                                   Galaxy Watch Extreme Sport T-Buckle Band Band, SAMSUNG,
                                                                                https://www.samsung.com/us/mobile/mobile-accessories/smartwatches/galaxy-
                                                                           25   watch-extreme-sport-t-buckle-band-m-l-green-black-et-sxr94lgeguj/#specs        (last
                                                                           26   accessed Dec. 27, 2024).
                                                                                36
                                                                                   Galaxy Watch D-Buckle Hybrid Eco-Leather Band, SAMSUNG,
                                                                           27   https://www.samsung.com/us/mobile/mobile-accessories/smartwatches/galaxy-
                                                                                watch-d-buckle-hybrid-eco-leather-band-m-l-camel-et-shr94ldeguj/ (last accessed
                                                                           28   Dec. 31, 2024).
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                                                                            1         21. Consumer Demand for Safe Smartwatch Bands. Consumers have a
                                                                            2   great concern for safe and chemical-free smartwatch bands that are worn directly on
                                                                            3   the skin for extended periods of time, every day.
                                                                            4         22. Challenged Representations on the Products’ Advertising and
                                                                            5   Marketing. Defendant takes advantage of consumers’ need for safe smartwatch
                                                                            6   bands, convincing consumers that the Products are safe for humans to wear every day
                                                                            7   or night, are designed to track and advance human health, and are environmentally
                                                                            8   sustainable, and, thus, free from toxic chemicals like PFAS.
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                                                                            9        a.     Design/Purpose. The Products are watch bands on smartwatches which
                                                                           10               are used and promoted as environmentally sustainable and made for
                                                                           11               everyday wear and prolonged use, to track and further human health and
                                                                           12               well-being.
                                                                           13        b.     Challenged Representations. Defendant advertises and markets the
                                                                           14               Products with the Challenged Representations, each of which convey, that
                                                                           15               the Products are specifically designed to track and further human health,
                                                                           16               are made for everyday wear and prolonged use, and are environmentally
                                                                           17               sustainable.
                                                                           18        c.     Material Omission. Defendant fails to disclose the Material Omission
                                                                           19               anywhere on the Products’ advertising and marketing to inform
                                                                           20               consumers that the Products are not, contrary to their design/purpose and
                                                                           21               Challenged Representations, free from toxic PFAS in excessive levels
                                                                           22               that are absorbed directly through the skin and into the bloodstream with
                                                                           23               regular use as intended and directed.
                                                                           24         23. The Challenged Representations are widely and prominently dispersed
                                                                           25   throughout Defendant’s official website, social media, and Defendant’s authorized
                                                                           26   retail vendors. The net-effect on consumers who view the Products is the impression
                                                                           27   that Products are safe for everyday wear and use, environmentally sustainable, and
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                                                                            1   designed specifically to promote human health. The consumers believe that the
                                                                            2   Products are free from toxic chemical substances like PFAS, which are harmful to the
                                                                            3   environment, and pose serious risk of harm to consumers’ health – especially when
                                                                            4   absorbed by the skin during prolonged use during the day or night, as per use directed
                                                                            5   and intended by Defendant, on the underside of the wrist, where the body’s absorption
                                                                            6   rate of the toxic chemicals is heightened. Defendant reinforces its deceptive
                                                                            7   advertising and marketing by materially omitting that the Products actually contain
                                                                            8   toxic PFAS in excessive levels that are absorbed directly through the skin and into
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                                                                            9   the bloodstream with regular use as intended and directed.
                                                                           10           24. Primary Dual Objectives. Plaintiff brings this action individually and in
                                                                           11   a representative capacity on behalf of those similarly situated consumers who
                                                                           12   purchased the Products during the relevant Class Period (defined infra), for dual
                                                                           13   primary objectives. One, Plaintiff seeks, on Plaintiff’s individual behalf and on behalf
                                                                           14   of the Class, a monetary recovery of the price premium Plaintiff and consumers have
                                                                           15   overpaid for the Products as a result of the Material Omission and Challenged
                                                                           16   Representations, as consistent with permissible law (including, for example,
                                                                           17   damages, 37 restitution, disgorgement, and any applicable penalties/punitive damages
                                                                           18   solely as to those causes of action so permitted). Two, Plaintiff seeks, on his individual
                                                                           19   behalf and on behalf of the Class, injunctive relief to stop Defendant’s unlawful
                                                                           20   manufacturing, marketing, and sale of the Products with the Material Omission and
                                                                           21   Challenged Representations to avoid or mitigate the risk of deceiving the public into
                                                                           22   believing that the Products live up to the Material Omission and Challenged
                                                                           23   Representations, by requiring Defendant to change its business practices, which may
                                                                           24   include one or more of the following: disclosure of the Material Omission on the
                                                                           25   Products’     advertising   and   removal    or   modification    of   the   Challenged
                                                                           26   Representations; disclosure of the Material Omission in the Product’s advertising and
                                                                           27
                                                                           28   37
                                                                                     Except as to the Consumer Legal Remedies Act (“CLRA”) claim.
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                                                                            1   removal or modification of the Challenged Representations; modification of the
                                                                            2   Products so that they live up to the Challenged Representations; and/or
                                                                            3   discontinuance of the Products’ manufacture, marketing, and/or sale.
                                                                            4                                   II.          JURISDICTION
                                                                            5         25. This Court has original jurisdiction over this action pursuant to the Class
                                                                            6   Action Fairness Act of 2005, 28 U.S.C. § 1332(d), because the proposed Class
                                                                            7   consists of 100 or more members; the amount in controversy exceeds $5,000,000,
                                                                            8   exclusive of costs and interest; and minimal diversity exists. This Court also has
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                                                                            9   supplemental jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367.
                                                                           10         26. This Court has personal jurisdiction over Defendant because Defendant
                                                                           11   purposefully availed itself of this forum by conducting substantial business within
                                                                           12   California such that Defendant has significant, continuous, and pervasive contacts
                                                                           13   with the State of California.
                                                                           14                                         III.      VENUE
                                                                           15         27. Venue is proper in this District under 28 U.S.C. § 1391 because a
                                                                           16   substantial part of the events and omissions giving rise to Plaintiff’s claims occurred
                                                                           17   in this District. Specifically, Plaintiff, as identified below, purchased the unlawful
                                                                           18   Products in this District with the Challenged Representations and Material Omission,
                                                                           19   and Defendant has deliberately marketed, advertised, and sold the Products within
                                                                           20   this District using the Challenged Representations and Material Omission.
                                                                           21                                         IV.      PARTIES
                                                                           22         28. Plaintiff Gonzalez. The following is alleged based upon Plaintiff
                                                                           23   Anthony Ray Gonzalez’s personal knowledge:
                                                                           24               a. Residence. Plaintiff is a resident of the County of Los Angeles, in the
                                                                           25                  State of California.
                                                                           26   ///
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                                                                            1            b. Purchase Details. Plaintiff purchased the Samsung Galaxy Watch 6
                                                                            2               44mm which comes with the fluoroelastomer Sport Band (the
                                                                            3               “Purchased Product”) for approximately $270 at Sam’s Club in El
                                                                            4               Monte, California, on December 10, 2023.
                                                                            5            c. Reliance on Challenged Labeling Claims. In deciding to make the
                                                                            6               purchase, Plaintiff Gonzalez viewed and relied upon the Material
                                                                            7               Omissions and Challenged Representations on the Products’ official
                                                                            8               website and other Samsung advertising and marketing, leading
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                                                                            9               Plaintiff to believe that the Products are safe for everyday wear and
                                                                           10               use, environmentally sustainable, and designed specifically to
                                                                           11               promote human health, and, thus, free from harmful toxic chemicals
                                                                           12               like PFAS that would cause him harm, especially when absorbed by
                                                                           13               the skin daily, and all day/night long, as per use directed and intended
                                                                           14               by Defendant, and on the underside of the wrist, where absorption of
                                                                           15               the toxic chemicals is heightened. Plaintiff relied on Samsung’s health
                                                                           16               centered marketing campaign, and purchased the product for health
                                                                           17               support purposes, including monitoring his heart rate and sleep
                                                                           18               patterns. Plaintiff was experiencing sleep apnea, and, in reliance on
                                                                           19               Defendant’s representations of the Product’s features, purpose, and
                                                                           20               recommended use, wore it while sleeping, believing this was safe to
                                                                           21               do.
                                                                           22            d. No Actual Knowledge of Falsity. At the time of purchase, Plaintiff
                                                                           23               Gonzalez did not know of the Material Omissions or that the
                                                                           24               Challenged Representations were false—i.e., that the Products contain
                                                                           25               toxic PFAS, pose an unreasonable safety hazard to human health and
                                                                           26               environment with intended use, and are not safe for everyday wear and
                                                                           27               use as advertised.
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                                                                            1            e. No Notice of Contradictions. Plaintiff Gonzalez did not notice any
                                                                            2               disclaimer, qualifier, or other explanatory statement or information on
                                                                            3               the Products’ advertising and marketing that contradicted the
                                                                            4               prominent Challenged Representations or otherwise suggested that the
                                                                            5               Products contain PFAS, and are unsafe for everyday wear and use,
                                                                            6               harmful to human health and environment.
                                                                            7            f. Causation/Damages. Plaintiff Gonzalez would not have purchased
                                                                            8               the Products or would not have paid as much for the Products, had the
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                                                                            9               Material Omission been disclosed and/or had Plaintiff otherwise
                                                                           10               known that the Challenged Representations were not true—i.e., that
                                                                           11               the Products contain toxic chemicals, PFAS, posing an unreasonable
                                                                           12               safety hazard to human health and environment, and are thus, not safe
                                                                           13               for everyday wear and prolonged use. Initially, Plaintiff was wearing
                                                                           14               the Purchased Product nearly all day, and after several weeks of
                                                                           15               prolonged use, he developed a burning rash where the Product touches
                                                                           16               the skin.
                                                                           17            g. Desire to Repurchase. Plaintiff Gonzalez continues to see the
                                                                           18               Products available for purchase and desires to purchase them again if
                                                                           19               the Challenged Representations were true—i.e., if the Products are
                                                                           20               environmentally sustainable, and designed specifically to further
                                                                           21               human health, and are safe for everyday wear and use, and thus, free
                                                                           22               from toxic PFAS.
                                                                           23            h. Lack of Personal Knowledge/Expertise to Determine Truth.
                                                                           24               Plaintiff Gonzalez is not personally familiar with the science behind
                                                                           25               the Products as he does not possess any specialized knowledge, skill,
                                                                           26               experience, or education in clothing materials, production, and safety.
                                                                           27               Thus, Plaintiff Gonzalez is unable to determine whether the Products’
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                                                                            1                  Challenged Representations are true—i.e., whether the Products
                                                                            2                  contain PFAS making them unsafe for everyday wear, and instead
                                                                            3                  hazardous to Plaintiff’s and the public’s health and environment.
                                                                            4               i. Inability to Rely. Plaintiff Gonzalez is, and continues to be, unable to
                                                                            5                  rely on the truth of the Challenged Representations on the Products’
                                                                            6                  advertising and marketing.
                                                                            7         29. Plaintiff’s Future Harm. Defendant continues to market and sell the
                                                                            8   Products with the Challenged Representations and Material Omission. Plaintiff would
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                                                                            9   like to purchase the Products in the future if they lived up to and conformed with the
                                                                           10   Challenged Representations. However, Plaintiff is an average consumer who is not
                                                                           11   sophisticated in, for example, watch band chemical composition or exposure, and/or
                                                                           12   whether the Products are free from undisclosed chemicals. Since Plaintiff would like
                                                                           13   to purchase the Products again to obtain the benefits of the Challenged
                                                                           14   Representations that Defendant continues to use—despite the fact that the Products
                                                                           15   were once marred by false advertising or warranties—Plaintiff would likely and
                                                                           16   reasonably, but incorrectly, assume the Products are true to and conform with the
                                                                           17   Challenged Representations on Defendant’s advertisements.
                                                                           18         30. Accordingly, Plaintiff is at risk of reasonably, but incorrectly, assuming
                                                                           19   that Defendant has fixed the Products such that Plaintiff may buy them again,
                                                                           20   believing they are no longer falsely advertised and warranted. In this regard, Plaintiff
                                                                           21   is currently and, in the future, deprived of the ability to rely on the Challenged
                                                                           22   Representations in deciding to purchase the Products.
                                                                           23   Defendant
                                                                           24         31. Defendant Samsung Electronics America, Inc., (“Defendant”) is an
                                                                           25   active New York corporation with its principal place of business located at 85
                                                                           26   Challenger Road, Ridgefield Park, New Jersey 07660-2118. At all relevant times,
                                                                           27   Defendant was conducting business in the state of California, including the Class
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                                                                            1   Period. Defendant is one of the owners, manufacturers, marketers, and distributors of
                                                                            2   the Products, and is the company that created, authorized, and controlled the use of
                                                                            3   the Challenged Representations to market the Products. Defendant and its agents
                                                                            4   promoted, marketed, and sold the Products at issue throughout the United States and,
                                                                            5   in particular, within this judicial district. The unfair, unlawful, deceptive, and
                                                                            6   misleading Challenged Representations and Material Omission on the Products were
                                                                            7   prepared, authorized, ratified, and/or approved by Defendant and its agents, and were
                                                                            8   disseminated throughout California and the nation by Defendant and its agents to
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                                                                            9   deceive and mislead consumers in the State of California and the United States into
                                                                           10   purchasing the Product.
                                                                           11                         V.      FACTUAL ALLEGATIONS
                                                                           12         A.    The Smartwatch Market
                                                                           13         32. Samsung is among the three largest smartwatch manufacturers, holding
                                                                           14   11% of the global smartwatch market share. 38 The smartwatch market is rapidly
                                                                           15   growing, driven by increasing consumer demand and technological advancements.39
                                                                           16   The global smartwatch industry is currently valued at around $50.57 billion, and
                                                                           17   expected to reach $143.19 billion by 2032. 40 There are 454.69 million smartwatch
                                                                           18   users worldwide, reflecting a 41% increase from 2023.41 The increasing trend of
                                                                           19   health consciousness is a significant driver of the market growth.42 Tracking and
                                                                           20   furthering health is a primary use of smartwatches. For example, 92% of smartwatch
                                                                           21   users report using smartwatches to track and improve their health and fitness, 43 which
                                                                           22   is why the majority of consumers look for reputable brands and rely on
                                                                           23   38
                                                                                   Naveen Kumar, Smartwatch Statistics (2025): Market & Sales Data,
                                                                           24   DemandSage (Dec. 6, 2024), https://www.demandsage.com/smartwatch-
                                                                                statistics/#:~:text=Apple%20holds%2021%25%20of%20the%20global%20smartwa
                                                                           25   tch%20market%20share.,Are%20Predicted%20To%20Be%20Shipped
                                                                                39
                                                                           26      Id.
                                                                                40
                                                                                   Id.
                                                                                41
                                                                           27      Id.
                                                                                42
                                                                                   Id.
                                                                           28   43
                                                                                   Id.
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                                                                            1   representations of health and safety when making their purchase decision. Indeed,
                                                                            2   studies show that smartwatch users wear smartwatches for an average of 11 hours per
                                                                            3   day, 44 and users often wear them for over 12 hours per day, 45 further rising concerns
                                                                            4   of prolonged exposure to chemicals and harmful materials in the smartwatches,
                                                                            5   including Defendant’s, that sit directly on the skin.
                                                                            6         B.    The Products’ Advertising and Marketing
                                                                            7         33. Website       Advertising.     Defendant      emphasizes   the   Challenged
                                                                            8   Representations in its advertising of the Products as part of its marketing campaign
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                                                                            9   and brand strategy of the Products. Not only has Defendant marketed and advertised
                                                                           10   the Products with the Challenged Representations, but Defendant has engaged in a
                                                                           11   marketing campaign initiated before and continuing throughout the Class Period
                                                                           12   (defined infra) that repeats and reinforces the Challenged Representations.
                                                                           13   Defendant’s marketing campaign and brand strategy is evidenced by its
                                                                           14   https://www.samsung.com/us website. Currently, on Defendant’s official brand
                                                                           15   website, Defendant showcases the Challenged Representations. Furthering consumer
                                                                           16   health and well-being are at the core of Defendant’s smartwatch marketing, together
                                                                           17   with prominent promises of environmental stewardship.
                                                                           18         C.    Defendant’s Products Contain PFAS
                                                                           19         34. As a result of Defendant’s extensive marketing and advertising of the
                                                                           20   Samsung brand and Products, as detailed above, reasonable consumers are led to
                                                                           21   believe the Products are made of safe and environmentally sustainable materials.
                                                                           22   Contrary to the Challenged Representations, the Products contain PFAS, which are
                                                                           23   dangerous, toxic ingredients that are harmful to humans and the environment. The
                                                                           24
                                                                                44
                                                                                   Anna L Beukenhorst et. al., Engagement and Participant Experiences With
                                                                           25   Consumer Smartwatches for Health Research: Longitudinal, Observational
                                                                           26   Feasibility Study, JMIR Mhealth Uhealth (Jan. 29, 2020),
                                                                                https://pmc.ncbi.nlm.nih.gov/articles/PMC7016619/#:~:text=Engagement%20With
                                                                           27   %20Smartwatch%20The%20median%20daily%20wear,and%2016.00%20and%202
                                                                                1.18%2C%20respectively%20(Figure%203).
                                                                           28   45
                                                                                   Wicks et. al., supra n. 25.
                                                                                                                        21
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                                                                            1   Products’ PFAS are inhaled and absorbed by the body through the dermal layer of the
                                                                            2   skin, enter and remain in the bloodstream, and further accumulate in the body’s
                                                                            3   tissues. 46, 47 The chemicals also contaminate wastewater during manufacturing,
                                                                            4   washing, and disposal processes.48, 49 As such, they pollute the soil and contaminate
                                                                            5   drinking water sources. 50
                                                                            6         35. Defendant’s Products contain elevated levels of PFAS, as explained
                                                                            7   supra ¶¶ 19-20.
                                                                            8         D.    Health Hazards of PFAS and Regulatory Background
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                                                                            9         36. In 2017, leading cancer experts from the World Health Organization’s
                                                                           10   International Agency for Research on Cancer (“IARC”) declared PFAS as a “possible
                                                                           11   human carcinogen,” based on correlations with kidney and testis cancer in subjects
                                                                           12   who were heavily exposed to the toxins. 51 California listed perfluorooctanoic acid
                                                                           13   (“PFOA”), one of the most detected types of PFAS, in its Proposition 65 registry of
                                                                           14
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                                                                           16   46
                                                                                   Calvert, L. et al., Assessment of the emerging threat posed by perfluoroalkyl and
                                                                           17   polyfluoroalkyl substances to male reproduction in humans. FRONTIERS IN
                                                                                ENDOCRINOLOGY, 12 (2022),
                                                                           18   https://www.frontiersin.org/articles/10.3389/fendo.2021.799043. (Last visited June
                                                                           19   26, 2024).
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                                                                                   Your activewear could be leaching toxic chemicals—Here’s what to do, NZ
                                                                           20   HERALD (Nov. 3, 2023), https://www.nzherald.co.nz/lifestyle/your-gym-clothes-
                                                                                could-be-leaching-toxic-chemicals-new-study-
                                                                           21   reveals/DSWZ5GI2SNEBJD36OYMEUOO3TU/. (Last visited June 26, 2024).
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                                                                                   “Forever chemicals” called pfas show up in your food, clothes, and home,
                                                                           22   NATURAL RESOURCES DEFENSE COUNCIL (Apr. 12, 2023),
                                                                           23   https://www.nrdc.org/stories/forever-chemicals-called-pfas-show-your-food-
                                                                                clothes-and-home. (Last visited June 26, 2024).
                                                                           24   49
                                                                                   Your activewear could be leaching toxic chemicals—Here’s what to do, supra
                                                                                note 47.
                                                                           25   50
                                                                                   Per- and Polyfluorinated Substances (PFAS) Fact Sheet, CENTERS FOR DISEASE
                                                                           26   CONTROL AND PREVENTION,
                                                                                https://www.cdc.gov/biomonitoring/PFAS_FactSheet.html. (Last visited June 26,
                                                                           27   2024).
                                                                                51
                                                                                   PFAS Exposure and Risk of Cancer, NATIONAL CANCER INSTITUTE. (Last visited
                                                                           28   June 26, 2024).
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                                                                            1   chemicals that “cause birth defects or other reproductive harm” and “cause
                                                                            2   cancer.” 52,53
                                                                            3          37. PFAS are synthetic, long-lasting chemicals of industry, the components
                                                                            4   of which break down very slowly over time. 54 Their inability to break down,
                                                                            5   combined with their potential to accumulate in people, animals, and the environment
                                                                            6   over time, earned them the ominous name, “forever chemicals.”55 PFAS can be found
                                                                            7   in drinking water, soil and water at/near waste sites, fire extinguishing foam, facilities
                                                                            8   that produce/use PFAS, clothing and clothing packaging, household products,
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                                                                            9   personal care products, and biosolids.56
                                                                           10          38. PFAS are synthetic chemicals that have been used in consumer products
                                                                           11   since the 1940s.57 PFAS are particularly dangerous due to their tendency to
                                                                           12   bioaccumulate in the human body. 58, 59 A study analyzed 21 samples of PFAS,
                                                                           13   including PFOA, from 99 samples of human autopsy tissues.60 The presence of PFAS
                                                                           14   was found in every human tissue, and accumulation of PFAS in tissues was observed
                                                                           15
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                                                                                   Wee, S. Y., & Aris, A. Z. Revisiting the “forever chemicals”, PFOA and PFOS
                                                                                exposure in drinking water. NPJ CLEAN WATER, 6(1), 1–16 (Aug. 21, 2023),
                                                                           17   https://doi.org/10.1038/s41545-023-00274-6. (Last visited June 26, 2024).
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                                                                                   See, CALIFORNIA OFFICE OF ENVIRONMENTAL HEALTH HAZARD ASSESSMENT
                                                                           18   https://www.p65warnings.ca.gov/fact-sheets/pfoa-perfluorooctanoic-acid. (Last
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                                                                                   PFAS Explained, EPA (Oct. 25, 2023), https://www.epa.gov/pfas/pfas-explained.
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                                                                                   Per- and Polyfluoroalkyl Substances (PFAS), EPA (Apr. 10, 2024),
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                                                                           21   Environmental Risks of PFAS, supra note 6.
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                                                                                   Id.
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                                                                                   Per- and Polyfluoroalkyl Substances (PFAS) and Your Health, AGENCY FOR TOXIC
                                                                           23   SUBSTANCES AND DISEASE REGISTRY (Jan. 18, 2024),
                                                                                https://www.atsdr.cdc.gov/pfas/index.html. (Last visited June 26, 2024).
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                                                                                   History and Use of Per- and Polyfluoroalkyl Substances (PFAS) Found in the
                                                                                Environment, INTERSTATE TECHNOLOGY REGULATORY COUNCIL (Sept. 2023),
                                                                           25   https://pfas-1.itrcweb.org/wp-content/uploads/2023/10/HistoryandUse_PFAS_Fact-
                                                                           26   Sheet_Sept2023_final.pdf. (Last June 26, 2024).
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                                                                                   Pérez, F. et. al., Accumulation of perfluoroalkyl substances in human tissues.
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                                                                            1   as well. 61 When entering the body, “PFAS bind to albumin in the blood stream and
                                                                            2   accumulate within the body’s protein-rich tissues.” 62 PFAS’s “high propensity to
                                                                            3   accumulate in biological systems” threatens the health of those exposed to the
                                                                            4   chemicals. 63
                                                                            5         39. Peer-reviewed scientific studies show that exposure to certain levels of
                                                                            6   PFAS lead to negative reproductive effects, such as decreased fertility and increased
                                                                            7   high blood pressure in pregnant women; negative developmental effects, or delays in
                                                                            8   children, including low birth weight, accelerated puberty, bone variations, or
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                                                                            9   behavioral changes; increased risk of cancers, including prostate, kidney, and
                                                                           10   testicular cancers; reduced ability of the body’s immune system to fight infections,
                                                                           11   including reduced vaccine response; interference with the body’s natural hormones;
                                                                           12   and increased cholesterol levels and risk of obesity.64, 65 Studies have shown that even
                                                                           13   low level exposure to PFAS result in suppression of the immune system, endocrine
                                                                           14   disruption, accelerated puberty, liver damage and thyroid changes.66 Thus, PFAS
                                                                           15   present an immediate health risk to consumers, and over time, that risk only grows as
                                                                           16   the PFAS accumulate in consumers’ bodies.
                                                                           17         40. In response to their negative health consequences, the EPA proposed
                                                                           18   regulations for maximum levels of certain PFAS in drinking water, estimating that its
                                                                           19   rule will prevent thousands of deaths and reduce tens of thousands of PFAS-
                                                                           20
                                                                           21
                                                                           22   61
                                                                                   Id.
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                                                                                   Calvert, L. et al., Assessment of the emerging threat posed by perfluoroalkyl and
                                                                                polyfluoroalkyl substances to male reproduction in humans. FRONTIERS IN
                                                                           24   ENDOCRINOLOGY, 12 (2022),
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                                                                           26      Id.
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                                                                                   Our Current Understanding of the Human Health and Environmental Risks of
                                                                           27   PFAS, supra note 6.
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                                                                                   Cook, supra note 7.
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                                                                                   PFAS, EWG (Apr. 10, 2024), https://www.ewg.org/tapwater/reviewed-pfcs.php.
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                                                                            1   attributable illnesses. 67 Consumers now reasonably seek to avoid unnecessary
                                                                            2   exposure to PFAS to reduce risk of harm to their health and the environment, and
                                                                            3   when they are exposed to information about toxic chemicals like PFAS in products,
                                                                            4   they make different purchase decisions, where possible. Responsible companies that
                                                                            5   remove toxic chemicals like PFAS from their products and processes also reasonably
                                                                            6   expect, and in fact derive, a competitive advantage in the marketplace.
                                                                            7         41. The Centers for Disease Control and Prevention’s (“CDC”)
                                                                            8   biomonitoring studies reveal that four PFAS are likely in the blood of nearly every
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                                                                            9   American,68 which the EWG believes is a gross understatement. 69
                                                                           10         42. The EPA notes the following harms from PFAS: 70
                                                                           11              •      Reproductive effects such as decreased fertility or increased health
                                                                           12                     blood pressure in pregnant women.
                                                                           13              •      Developmental effects or delays in children, including low birth
                                                                           14                     weight, accelerated puberty, bone variations, or behavioral
                                                                           15                     changes.
                                                                           16              •      Increased risk of some cancers, including prostate, kidney, and
                                                                           17                     testicular cancers.
                                                                           18              •      Reduced ability of the body’s immune system to fight infections,
                                                                           19                     including reduced vaccine response.
                                                                           20
                                                                           21
                                                                                67
                                                                                   Proposed PFAS National Primary Drinking Water Regulation, U.S.
                                                                           22   ENVIRONMENTAL PROTECTION AGENCY, https://www.epa.gov/sdwa/and-
                                                                           23   polyfluoroalkyl-substances-pfas. (Last visited June 26, 2024).
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                                                                                   Per- and Polyfluorinated Substances (PFAS) Factsheet, CDC (May 2, 2022),
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                                                                                   Our Current Understanding of the Human Health and Environmental Risks of
                                                                           28   PFAS, supra note 6.
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                                                                            1               •       Interference with the body’s natural hormones.
                                                                            2               •       Increased cholesterol levels and/or risk of obesity.
                                                                            3         43. PFAS have dangerous effects on the human body, including altered
                                                                            4   metabolism and increased risk of being overweight or obese, reduced fetal growth and
                                                                            5   fertility, “altered immune and thyroid function, liver disease, lipid and insulin
                                                                            6   dysregulation, kidney disease, adverse reproductive and developmental outcomes,
                                                                            7   and cancer.”71,72
                                                                            8         44. PFAS cause low birth weight, birth defects, delayed development, and
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                                                                            9   newborn deaths.73 Children with increased exposure to PFAS have weaker immune
                                                                           10   responses to vaccinations and suffer additional childhood infections.74,75
                                                                           11         45. PFOA exposure is positively correlated with testicular and kidney
                                                                           12   cancers.76 Specifically, researchers have found for each unit increase in the amount
                                                                           13   of PFOA exposure, the risk of testicular cancer increases by 34%, and the risk of
                                                                           14   kidney cancers increases by 10%. 77
                                                                           15
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                                                                                   Fenton, S. et al., Per- and polyfluoroalkyl substance toxicity and human health
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                                                                            1            46. Increased exposure to PFAS leads to higher cholesterol levels. The
                                                                            2   CDC’s National Health and Nutrition Examination Survey, with participants ranging
                                                                            3   from 12 to 80 years of age, showed that the participants in the highest quartile of
                                                                            4   perfluorooctane sulfonic acid (“PFOS”) exposure had cholesterol levels that were
                                                                            5   13.4 mg/dL higher than the participants within the lowest quartile of PFOS exposure
                                                                            6   age.78
                                                                            7            47. PFAS have a negative effect on thyroid function. The thyroid is critical
                                                                            8   for cardiovascular health, fertility, fetal neurodevelopment, and metabolism.79 Studies
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                                                                            9   have confirmed the disruptive effects of PFAS exposure on the circulation of thyroid
                                                                           10   hormone levels in the body. 80 In a study involving pregnant mice, PFAS were found
                                                                           11   to have accumulated in their placentas, impacting fetal development. 81 In humans,
                                                                           12   PFAS exposure had produced significant thyroid functioning changes in pregnant
                                                                           13   mothers and their newborns. 82 In another study, higher PFAS concentrations in
                                                                           14   pregnant women led to lower birth weight and ponderal index (body mass) of their
                                                                           15   newborns.83
                                                                           16            48. Research from a national health survey on the general population
                                                                           17   concluded that increased levels of PFAS in the blood increased risk of fatty liver
                                                                           18
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                                                                                   Nelson, J. et al., Exposure to polyfluoroalkyl chemicals and cholesterol, body
                                                                           21   weight, and insulin resistance in the general U.S. population. ENVIRONMENTAL
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                                                                            1   disease and worsened liver function.84 These findings show that PFAS pose a higher
                                                                            2   risk for chronic liver disease in humans.85
                                                                            3          E.       Defendant’s   Products   Cause   Serious    and    Irreversible    and
                                                                            4                   Environmental Harms
                                                                            5           49. PFAS also pose a serious threat to the environment. PFAS have been
                                                                            6   found in water sources, including rivers and lakes, and in both terrestrial and aquatic
                                                                            7   animals.86 Under normal conditions, “it can take over 1,000 years for some PFAS to
                                                                            8   degrade.”87,88,89 PFAS are constantly entering the environment through multiple
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                                                                            9   stages in the manufacturing process. PFAS can be released into the environment
                                                                           10   during the chemical manufacturing process and through chemical additives that are
                                                                           11   applied to the finished product.90 Since PFAS cannot be removed from water through
                                                                           12   standard water treatment processes, they move from water supplies into agricultural
                                                                           13   fields. 91,92
                                                                           14
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                                                                            1         50. PFAS also pose a threat to environmental and human health during the
                                                                            2   manufacturing process. Leaks from manufacturing facilities can spill PFAS into
                                                                            3   groundwater and soil.93
                                                                            4         51. PFAS are synthetic chemicals that have a chain of carbon and fluorine
                                                                            5   atoms with characteristically strong bonds.94 PFAS emissions plague entire
                                                                            6   ecosystems: in one example, a fluorochemical manufacturing facility discharged
                                                                            7   wastewater containing PFAS into the Cape Fear River in North Carolina. As a result
                                                                            8   of the wastewater contamination, scientists detected PFAS in blood samples from
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                                                                            9   Wilmington, North Carolina, residents,95 as well as in striped bass, 96 and American
                                                                           10   alligators. 97 Both wildlife studies found PFAS to be immune toxicants, resulting in
                                                                           11   autoimmune-like pathology in American alligators and altered immune and liver
                                                                           12   function in striped bass.
                                                                           13         52. Unlike other chemicals, PFAS are uniquely harmful to the environment.
                                                                           14   PFAS are not removed by conventional wastewater treatment plants, and instead run
                                                                           15   off into lakes, streams, and groundwater, or as “sludge.” PFAS contaminate sludge,
                                                                           16
                                                                           17   93
                                                                                   Textile manufacturing and pfas: Three phases of risk. HALEY ALDRICH.
                                                                                https://www.haleyaldrich.com/resources/articles/textile-manufacturing-and-pfas-
                                                                           18   three-phases-of-risk/. (Last visited June 26, 2024).
                                                                           19
                                                                                94
                                                                                   “Perfluoroalkyl and Polyfluoroalkyl Substances (PFAS),” NATIONAL INSTITUTE
                                                                                OF ENVIRONMENTAL HEALTH SCIENCES,
                                                                           20   https://www.niehs.nih.gov/health/topics/agents/pfc/index.cfm#:~:text=More%
                                                                                20than%209%2C000%20PFAS%20have%20been%20identified. (Last visited June
                                                                           21   26, 2024).
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                                                                                   Kotlarz, Nadine et al., “Measurement of Novel, Drinking Water-Associated PFAS
                                                                           22   in Blood from Adults and Children in Wilmington, North
                                                                           23   Carolina.” ENVIRONMENTAL HEALTH PERSPECTIVES,
                                                                                https://pubmed.ncbi.nlm.nih.gov/32697103/. (Last visited June 26, 2024).
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                                                                                   Guillette, T. C. et al., “Elevated levels of per- and polyfluoroalkyl substances in
                                                                                Cape Fear River Striped Bass (Morone saxatilis) are associated with biomarkers of
                                                                           25   altered immune and liver function.” ENVIRONMENT INTERNATIONAL 136 (2020),
                                                                           26   https://pubmed.ncbi.nlm.nih.gov/32044175/ (Last visited June 26, 2024).
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                                                                                   Guillette, T C et al., “Blood concentrations of per- and polyfluoroalkyl substances
                                                                           27   are associated with autoimmune-like effects in American alligators from
                                                                                Wilmington, North Carolina.” FRONTIERS IN TOXICOLOGY 4:1010185 (Oct. 20,
                                                                           28   2022), https://pubmed.ncbi.nlm.nih.gov/36337916/. (Last visited June 26, 2024).
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                                                                            1   or biosolids, extracted from the sewage treatment process,98 which is otherwise
                                                                            2   nutrient-rich and recycled as fertilizer.99 Once PFAS are cycled back into the soil,
                                                                            3   crops readily sequester the chemical, causing biomagnification up the food chain,
                                                                            4   furthering toxic accumulation in animals and humans. 100 PFAS are also absorbed by
                                                                            5   plants from industrial emissions, irrigation with contaminated water, leachates from
                                                                            6   landfill sites, and pesticide application. 101
                                                                            7          53. The Products are not sustainable, environmentally conscious, or designed
                                                                            8   with consumers’ wellness in mind, as promised. Instead, with regular use, they
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                                                                            9   introduce “forever chemicals” into the human body, water supply, and broader
                                                                           10   ecosystems, committing irreversible human and environmental harm.
                                                                           11         F.     Plaintiff and Reasonable Consumers Were Misled into Buying the
                                                                           12                Products to Their Detriment
                                                                           13          54. Reasonable Consumer’s Perception. The Material Omission and
                                                                           14   Challenged Representations lead reasonable consumers, like Plaintiff, into believing
                                                                           15   that the Products conform to the Challenged Representations—meaning, consumers
                                                                           16   are led to believe that the Products are safe for everyday use and wear,
                                                                           17   environmentally sustainable, and designed specifically to further human health, and
                                                                           18
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                                                                                   “Wastewater Treatment Plants/ Industrial Pretreatment Program,” MICHIGAN
                                                                                PFAS ACTION RESPONSE TEAM,
                                                                           20   https://www.michigan.gov/pfasresponse/investigations/wastewater. (Last visited
                                                                                June 26, 2024).
                                                                           21   99
                                                                                    “What are biosolids, how are they used, and are they safe?” WATER RESOURCES
                                                                                DIVISION, MICHIGAN DEPARTMENT OF ENVIRONMENTAL QUALITY,
                                                                           22   https://www.michigan.gov/-
                                                                           23   /media/Project/Websites/egle/Documents/Programs/WRD/Biosolids/biosolids-what-
                                                                                how-
                                                                           24   safe.pdf?rev=b54e28b954a54dd8a43153688a1151b3#:~:text=Biosolids%20are%20t
                                                                                he%20nutrient%2Drich,a%20fertilizer%20and%20soil%20amendment. (Last
                                                                           25   visited June 26, 2024).
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                                                                                    Wang, W. et al., “Uptake and accumulation of per- and polyfluoroalkyl
                                                                                substances in plants,” CHEMOSPHERE, SCIENCE DIRECT (2020),
                                                                           27   https://www.sciencedirect.com/science/article/pii/S0045653520317793. (Last
                                                                                visited June 26, 2024).
                                                                           28   101
                                                                                    Id.
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                                                                            1   are thus, free from toxic chemical substances like PFAS.
                                                                            2         55. Materiality. The Challenged Representations and Material Omission are
                                                                            3   material to reasonable consumers, including Plaintiff, in deciding to buy the
                                                                            4   Products—meaning that it is important to consumers that the Products are safe for
                                                                            5   everyday wear and use, environmentally sustainable, and designed specifically to
                                                                            6   promote human health, and, thus, are free from PFAS toxic to them with regular use
                                                                            7   and to the environment at large.
                                                                            8         56. Reliance. The Class, including Plaintiff, reasonably relied on the
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                                                                            9   Challenged Representations and Material Omission in deciding to purchase the
                                                                           10   Products.
                                                                           11         57. Falsity. The Challenged Representations and Material Omission are
                                                                           12   deceptive because the Products contain toxic substances, PFAS, which are harmful to
                                                                           13   the environment, pose an unreasonable safety hazard to human health with regular
                                                                           14   use, and are especially unsafe for everyday wear and use.
                                                                           15         58. Consumers Lack Knowledge of Falsity. The Class who purchased the
                                                                           16   Products, including Plaintiff, did not know and had no reason to know, at the time of
                                                                           17   purchase, that the Products’ Challenged Representations and Material Omission are
                                                                           18   false, misleading, deceptive, and unlawful. Nothing on Defendant’s websites displays
                                                                           19   or advertising adequately, expressly, unambiguously, or conspicuously informs
                                                                           20   consumers that the Challenged Representations are false—specifically, that the
                                                                           21   Products contain toxic chemical substances - PFAS, and thus, are unsafe for everyday
                                                                           22   wear and use, and are hazardous to both environment and public health, especially to
                                                                           23   consumers who wear the Products all day or all night long, as per directed and
                                                                           24   intended use by Defendant. Even worse, Defendant’s Products are designed to be
                                                                           25   worn on the underside of their wrist, where the body’s absorption rate of the toxic
                                                                           26   chemicals is heightened. The Products’ advertising and marketing unambiguously
                                                                           27   advertise the Products as being safe for everyday and prolonged use to promote health
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                                                                            1   and environmental sustainability. The Products’ advertisements do not contain any
                                                                            2   clear, conspicuously displayed statement(s), reasonably proximate to the Challenged
                                                                            3   Representations, where the reasonable consumers are likely to notice, read, and
                                                                            4   understand that the Challenged Representations are not true, and instead, the Products
                                                                            5   contain dangerous toxic chemicals, and are not environmentally sustainable nor safe
                                                                            6   for everyday wear.
                                                                            7         59. Defendant’s Knowledge. Defendant knew, or should have known, that
                                                                            8   the Challenged Representations and Material Omission are false, misleading,
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                                                                            9   deceptive, and unlawful, at the time that Defendant manufactured, marketed,
                                                                           10   advertised, labeled, and sold the Products using the Challenged Representations and
                                                                           11   Material Omission to Plaintiff and the Class. Defendant intentionally and deliberately
                                                                           12   used the Challenged Representations, alongside the Products’ design/purpose to cause
                                                                           13   Plaintiff and similarly situated consumers to buy the Products believing that the
                                                                           14   Challenged Representations are true.
                                                                           15               a.    Knowledge of Reasonable Consumers’ Perception. Defendant
                                                                           16                     knew or should have known that the Challenged Representations
                                                                           17                     and Material Omission would lead reasonable consumers into
                                                                           18                     believing that the Products are safe for everyday wear and use,
                                                                           19                     environmentally sustainable, and designed specifically to promote
                                                                           20                     human health, and, thus, are free from toxic chemicals like PFAS.
                                                                           21               b.    Knowledge of Falsity. Defendant manufactured and marketed the
                                                                           22                     Products with the Challenged Representations, but Defendant
                                                                           23                     opted to make Products that do not conform with those
                                                                           24                     representations. Specifically, Defendant advertised, labeled, and
                                                                           25                     packaged the Products with the Challenged Representations, but
                                                                           26                     chose to manufacture the Products with toxic chemicals, PFAS,
                                                                           27                     which pose an unreasonable safety hazard to the environment and
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                                                                            1                  a serious risk of harm to human health, especially when worn daily
                                                                            2                  for prolonged period of time on the wrist – as directed by
                                                                            3                  Defendant - where the body’s absorption rate is heightened.
                                                                            4            c.    Knowledge of Materiality. Defendant knew or should have
                                                                            5                  known of the Challenged Representations materiality to
                                                                            6                  consumers. Manufacturers and marketers repeat marketing claims
                                                                            7                  to emphasize and characterize a brand or Products line, shaping the
                                                                            8                  consumers’ expectations, because they believe those repeated
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                                                                            9                  messages will drive consumers to buy the Products. Here, the
                                                                           10                  repeated use of the Challenged Representations throughout
                                                                           11                  Defendant’s marketing campaign demonstrates Defendant’s
                                                                           12                  awareness that the falsely advertised Products-attributes are
                                                                           13                  important to consumers. It also evidences Defendant’s intent to
                                                                           14                  convince consumers that the Products conform to the Challenged
                                                                           15                  Representations and, ultimately, drive sales.
                                                                           16            d.    Defendant’s Continued Deception, Despite Its Knowledge.
                                                                           17                  Defendant, as the manufacturer and marketer of the Products, had
                                                                           18                  exclusive control over the Challenged Representations’—i.e.,
                                                                           19                  Defendant readily and easily could have stopped using the
                                                                           20                  Challenged Representations to sell the Products. However, despite
                                                                           21                  Defendant’s knowledge of the Challenged Representations’ falsity,
                                                                           22                  and Defendant’s knowledge that consumers reasonably rely on the
                                                                           23                  representations in deciding to buy the Products, Defendant
                                                                           24                  deliberately chose to market the Products with the Challenged
                                                                           25                  Representations thereby misleading consumers into buying or
                                                                           26                  overpaying for the Products. Thus, Defendant knew, or should have
                                                                           27                  known, at all relevant times, that the Challenged Representations
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                                                                            1                         mislead reasonable consumers, such as Plaintiff, into buying the
                                                                            2                         Products to attain the product-attributes that Defendant falsely
                                                                            3                         advertised and warranted.
                                                                            4         60. Duty to Disclose Material Omission. Defendant had, at all relevant
                                                                            5   times, an obligation to disclose the Material Omission—that the Products contain
                                                                            6   toxic chemicals, PFAS, and, thus, pose an unreasonable safety hazard to both the
                                                                            7   environment and human health. Defendant knew or should have known that
                                                                            8   reasonable consumers would perceive the Products and Material Omission to mean
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                                                                            9   that the Products do not contain toxic chemicals like PFAS by advertising them as
                                                                           10   safe for everyday wear and use, economically sustainable and specifically designed
                                                                           11   to promote human health. Defendant also knew that this attribute – ability to wear the
                                                                           12   Products daily and use them all day or all night long was material to consumers and
                                                                           13   would serve as important purchasing factors. To advance its sales, and ensure the
                                                                           14   prolonged daily use of the Products, Defendant made the Challenged Representations,
                                                                           15   knowing that Plaintiff and the Class would reasonably rely on them, in deciding to
                                                                           16   purchase the Products. Defendant also knew or should have known that the
                                                                           17   Challenged Representations were false—that the Products contain toxic PFAS and,
                                                                           18   thus, are not economically sustainable and are unsafe for everyday wear and use.
                                                                           19         61. Detriment. Plaintiff and similarly situated consumers would not have
                                                                           20   purchased the Products or would not have overpaid a price premium for them, if they
                                                                           21   had known that the Challenged Representations were false and, therefore, the
                                                                           22   Products do not have the attribute claimed, promised, warranted, advertised, and/or
                                                                           23   represented. Accordingly, based on Defendant’s Challenged Representations and
                                                                           24   Material Omission, reasonable consumers, including Plaintiff, purchased the Products
                                                                           25   to their detriment.
                                                                           26   ///
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                                                                            1         G.   No Adequate Remedy at Law
                                                                            2         62. Plaintiff and members of the Class are entitled to equitable relief as no
                                                                            3   adequate remedy at law exists.
                                                                            4              a. Broader Statutes of Limitations. The statutes of limitations for the
                                                                            5                 causes of action pled herein vary. The limitations period is four years
                                                                            6                 for claims brought under the UCL, which is one year longer than the
                                                                            7                 statutes of limitations under the FAL and CLRA. In addition, the
                                                                            8                 statutes of limitations vary for certain states’ laws for breach of
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                                                                            9                 warranty and unjust enrichment/restitution, between approximately 2
                                                                           10                 and 6 years. Thus, California Subclass members who purchased the
                                                                           11                 Products more than 3 years prior to the filing of the complaint will be
                                                                           12                 barred from recovery if equitable relief were not permitted under the
                                                                           13                 UCL. Similarly, Nationwide Class members who purchased the
                                                                           14                 Products prior to the furthest reach-back under the statute of
                                                                           15                 limitations for breach of warranty, will be barred from recovery if
                                                                           16                 equitable relief were not permitted for restitution/unjust enrichment.
                                                                           17              b. Broader Scope of Conduct. In addition, the scope of actionable
                                                                           18                 misconduct under the unfair prong of the UCL is broader than the other
                                                                           19                 causes of action asserted herein. It includes, for example, Defendant’s
                                                                           20                 overall unfair marketing scheme to promote and brand the Products
                                                                           21                 with the Challenged Representations and omission, across a multitude
                                                                           22                 of media platforms, including the Products’ advertising and
                                                                           23                 marketing, over a long period of time, in order to gain an unfair
                                                                           24                 advantage over competitor products and to take advantage of
                                                                           25                 consumers’ desire for Products that comport with the Challenged
                                                                           26                 Representations. The UCL also creates a cause of action for violations
                                                                           27                 of law (such as statutory or regulatory requirements and court orders
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                                                                            1               related to similar representations and omissions made on the type of
                                                                            2               products at issue). Thus, Plaintiff and Class members may be entitled
                                                                            3               to restitution under the UCL, while not entitled to damages under other
                                                                            4               causes of action asserted herein (e.g., the FAL requires actual or
                                                                            5               constructive knowledge of the falsity; the CLRA is limited to certain
                                                                            6               types of Plaintiff (an individual who seeks or acquires, by purchase or
                                                                            7               lease, any goods or services for personal, family, or household
                                                                            8               purposes) and other statutorily enumerated conduct). Similarly, unjust
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                                                                            9               enrichment/restitution is broader than breach of warranty. For
                                                                           10               example, in some states, breach of warranty may require privity of
                                                                           11               contract or pre-lawsuit notice, which are not typically required to
                                                                           12               establish unjust enrichment/restitution.   Thus, Plaintiff and Class
                                                                           13               members      may     be    entitled   to    recover    under    unjust
                                                                           14               enrichment/restitution, while not entitled to damages under breach of
                                                                           15               warranty, because they purchased the Products from third-party
                                                                           16               retailers or did not provide adequate notice of a breach prior to the
                                                                           17               commencement of this action.
                                                                           18            c. Injunctive Relief to Cease Misconduct and Dispel Misperception.
                                                                           19               Injunctive relief is appropriate on behalf of Plaintiff and members of
                                                                           20               the Class because Defendant continues to misrepresent the Products
                                                                           21               with the Challenged Representations and Omission. Injunctive relief
                                                                           22               is necessary to prevent Defendant from continuing to engage in the
                                                                           23               unfair, fraudulent, and/or unlawful conduct described herein and to
                                                                           24               prevent future harm—none of which can be achieved through
                                                                           25               available legal remedies (such as monetary damages to compensate
                                                                           26               past harm). Further, injunctive relief, in the form of affirmative
                                                                           27               disclosures, is necessary to dispel the public misperception about the
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                                                                            1               Products that has resulted from years of Defendant’s unfair,
                                                                            2               fraudulent, and unlawful marketing efforts. Such disclosures would
                                                                            3               include, but are not limited to, publicly disseminated statements
                                                                            4               providing accurate information about the Product’s true nature; and/or
                                                                            5               requiring prominent qualifications and/or disclaimers concerning the
                                                                            6               Products’ true nature. An injunction requiring affirmative disclosures
                                                                            7               to dispel the public’s misperception and prevent the ongoing deception
                                                                            8               and repeat purchases based thereon, is also not available through a
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                                                                            9               legal remedy (such as monetary damages). In addition, Plaintiff is
                                                                           10               currently unable to accurately quantify the damages caused by
                                                                           11               Defendant’s future harm, because discovery and Plaintiff’s
                                                                           12               investigation have not yet completed, rendering injunctive relief all the
                                                                           13               more necessary. For example, because the court has not yet certified
                                                                           14               any class, the following remains unknown: the scope of the class, the
                                                                           15               identities of its members, their respective purchasing practices, prices
                                                                           16               of past/future sales of Products, and quantities of past/future sales of
                                                                           17               Products.
                                                                           18            d. Public Injunction. Further, because a “public injunction” is available
                                                                           19               under the UCL, damages will not adequately “benefit the general
                                                                           20               public” in a manner equivalent to an injunction.
                                                                           21            e. California vs. Nationwide Class Claims. Violations of the FAL and
                                                                           22               CLRA are claims asserted on behalf of Plaintiff and the California
                                                                           23               Subclass    against   Defendant,    while   UCL,     fraud,   fraudulent
                                                                           24               inducement, fraudulent omission or concealment, fraudulent
                                                                           25               misrepresentation,    negligent     misrepresentation,     and    unjust
                                                                           26               enrichment/restitution claims are asserted on behalf of Plaintiff and
                                                                           27               the Nationwide Class. Dismissal of farther-reaching claims, such as
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                                                                            1                  restitution, would bar recovery for non-California members of the
                                                                            2                  Class. In other words, legal remedies available or adequate under the
                                                                            3                  California-specific causes of action (such as the UCL, FAL, and
                                                                            4                  CLRA) have no impact on this Court’s jurisdiction to award equitable
                                                                            5                  relief under the remaining causes of action asserted on behalf of non-
                                                                            6                  California putative class members.
                                                                            7               f. Procedural Posture—Incomplete Discovery & Pre-Certification.
                                                                            8                  Lastly, this is an initial pleading in this action, and discovery has not
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                                                                            9                  yet commenced and/or is at its initial stages. No class has been
                                                                           10                  certified yet. No expert discovery has commenced and/or completed.
                                                                           11                  The completion of fact/non-expert and expert discovery, as well as the
                                                                           12                  certification of this case as a class action, are necessary to finalize and
                                                                           13                  determine the adequacy and availability of all remedies, including
                                                                           14                  legal and equitable, for Plaintiff’s individual claims and any certified
                                                                           15                  class or subclass. Plaintiff therefore reserves Plaintiff’s right to amend
                                                                           16                  this complaint and/or assert additional facts that demonstrate this
                                                                           17                  Court’s jurisdiction to order equitable remedies where no adequate
                                                                           18                  legal remedies are available for either Plaintiff and/or any certified
                                                                           19                  class or subclass. Such proof, to the extent necessary, will be presented
                                                                           20                  prior to the trial of any equitable claims for relief and/or the entry of
                                                                           21                  an order granting equitable relief.
                                                                           22                      VI. CLASS ACTION ALLEGATIONS
                                                                           23         63.   Class Definition. Plaintiff brings this action as a class action on behalf of
                                                                           24   himself and all others similarly situated as members of the Class defined as follows:
                                                                           25   ///
                                                                           26   ///
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                                                                            1   Nationwide Class
                                                                            2
                                                                                            All residents of the United States who, within the applicable statute of
                                                                            3               limitations periods, purchased the Products, containing the Challenged
                                                                            4               Representations or Material Omission on the Products’ advertising and
                                                                                            marketing, for purposes other than resale (“Nationwide Class”); and
                                                                            5
                                                                            6   California Subclass
                                                                            7
                                                                                            All residents of California who, within four years prior to the filing of this
                                                                            8               action, purchased the Products, containing the Challenged
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                                                                            9               Representations or Material Omission on the Products’ advertising and
                                                                                            marketing, for purposes other than resale (“California Subclass”).
                                                                           10
                                                                           11         64. Collectively, the Nationwide Class and California Subclass are referred
                                                                           12   to as the “Class”.
                                                                           13         65. Class Definition Exclusions. Excluded from the Class are: (i) Defendant,
                                                                           14   its assigns, successors, and legal representatives; (ii) any entities in which Defendant
                                                                           15   has controlling interests; (iii) federal, state, and/or local governments, including, but
                                                                           16   not limited to, their departments, agencies, divisions, bureaus, boards, sections,
                                                                           17   groups, counsels, and/or subdivisions; and (iv) any judicial officer presiding over this
                                                                           18   matter and person within the third degree of consanguinity to such judicial officer.
                                                                           19         66. Reservation of Rights to Amend the Class Definition. Plaintiff reserves
                                                                           20   the right to amend or otherwise alter the class definition presented to the Court at the
                                                                           21   appropriate time in response to facts learned through discovery, legal arguments
                                                                           22   advanced by Defendant, or otherwise.
                                                                           23         67. Numerosity. Members of the Class are so numerous that joinder of all
                                                                           24   members is impracticable. Upon information and belief, the Nationwide Class
                                                                           25   consists of tens of thousands of purchasers (if not more) dispersed throughout the
                                                                           26   United States, and the California Subclass likewise consists of thousands of
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                                                                            1   purchasers (if not more) dispersed throughout the State of California. Accordingly, it
                                                                            2   would be impracticable to join all members of the Class before the Court.
                                                                            3         68. Common Questions Predominate. There are numerous and substantial
                                                                            4   questions of law or fact common to all members of the Class that predominate over
                                                                            5   any individual issues. Included within the common questions of law or fact are:
                                                                            6        a.     Whether Defendant engaged in unlawful, unfair or deceptive business
                                                                            7               practices by advertising and selling the Products;
                                                                            8        b.     Whether Defendant’s conduct of advertising and selling the Products as
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                                                                            9               safe for everyday wear and use, environmentally sustainable, and
                                                                           10               designed specifically to promote human health, and thus, are free from
                                                                           11               toxic PFAS.
                                                                           12        c.     Whether Defendant’s conduct constitutes an unfair method of
                                                                           13               competition, or unfair or deceptive act or practice, in violation of Civil
                                                                           14               Code section 1750, et seq.;
                                                                           15        d.     Whether Defendant used deceptive representations and Material
                                                                           16               Omission in connection with the sale of the Products in violation of Civil
                                                                           17               Code section 1750, et seq.;
                                                                           18        e.     Whether Defendant represented that the Products have characteristics or
                                                                           19               quantities that they do not have in violation of Civil Code section 1750,
                                                                           20               et seq.;
                                                                           21        f.     Whether Defendant advertised the Products with intent not to sell them as
                                                                           22               advertised in violation of Civil Code section 1750, et seq.;
                                                                           23        g.     Whether Defendant’s advertising and marketing of the Products are
                                                                           24               misleading in violation of Business and Professions Code section 17500,
                                                                           25               et seq.;
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                                                                            1        h.     Whether Defendant knew or by the exercise of reasonable care should
                                                                            2               have known its advertising and marketing were and are misleading in
                                                                            3               violation of Business and Professions Code section 17500, et seq.;
                                                                            4        i.     Whether Defendant’s conduct is an unfair business practice within the
                                                                            5               meaning of Business and Professions Code section 17200, et seq.;
                                                                            6        j.     Whether Defendant’s conduct is a fraudulent business practice within the
                                                                            7               meaning of Business and Professions Code section 17200, et seq.;
                                                                            8        k.     Whether Defendant’s conduct is an unlawful business practice within the
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                                                                            9               meaning of Business and Professions Code section 17200, et seq.;
                                                                           10        l.     Whether Plaintiff and the Class paid more money for the Products than
                                                                           11               they actually received;
                                                                           12        m.     How much more money Plaintiff and the Class paid for the Products than
                                                                           13               they actually received;
                                                                           14        n.     Whether Plaintiff and the Class are entitled to injunctive relief; and
                                                                           15        o.     Whether Defendant was unjustly enriched by its unlawful conduct.
                                                                           16         69. Predominance. The common questions of law and fact predominate over
                                                                           17   questions that affect only individual Class Members.
                                                                           18         70. Typicality. Plaintiff’s claims are typical of the claims of the Class
                                                                           19   Members they seek to represent because Plaintiff, like the Class Members purchased
                                                                           20   Defendant’s misleading and deceptive Products. Defendant’s unlawful, unfair and/or
                                                                           21   fraudulent actions concern the same business practices described herein irrespective
                                                                           22   of where they occurred or were experienced. Plaintiff and the Class sustained similar
                                                                           23   injuries arising out of Defendant’s conduct. Plaintiff’s and Class Members’ claims
                                                                           24   arise from the same practices and course of conduct and are based on the same legal
                                                                           25   theories.
                                                                           26         71. Adequacy. Plaintiff is an adequate representative of the Class they seek
                                                                           27   to represent because their interests do not conflict with the interests of the Class
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                                                                            1   Members Plaintiff seeks to represent. Plaintiff will fairly and adequately protect Class
                                                                            2   Members’ interests and have retained counsel experienced and competent in the
                                                                            3   prosecution of complex class actions, including complex questions that arise in
                                                                            4   consumer protection litigation.
                                                                            5         72. Ascertainability. Class Members can easily be identified by an
                                                                            6   examination and analysis of the business records regularly maintained by Defendant,
                                                                            7   among other records within Defendant’s possession, custody, or control.
                                                                            8   Additionally, further Class Member data can be obtained through additional third-
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                                                                            9   party retailers who retain customer records and order histories.
                                                                           10         73. Superiority and Substantial Benefit. A class action is superior to other
                                                                           11   methods for the fair and efficient adjudication of this controversy, since individual
                                                                           12   joinder of all members of the Class is impracticable and no other group method of
                                                                           13   adjudication of all claims asserted herein is more efficient and manageable for at least
                                                                           14   the following reasons:
                                                                           15        a.     The claims presented in this case predominate over any questions of law
                                                                           16               or fact, if any exist at all, affecting any individual member of the Class;
                                                                           17        b.     Absent a Class, the members of the Class will continue to suffer damage
                                                                           18               and Defendant’s unlawful conduct will continue without remedy while
                                                                           19               Defendant profits from and enjoy its ill-gotten gains;
                                                                           20        c.     Given the size of individual Class Members’ claims, few, if any, Class
                                                                           21               Members could afford to or would seek legal redress individually for the
                                                                           22               wrongs Defendant committed against them, and absent Class Members
                                                                           23               have no substantial interest in individually controlling the prosecution of
                                                                           24               individual actions;
                                                                           25        d.     When the liability of Defendant has been adjudicated, claims of all
                                                                           26               members of the Class can be administered efficiently and/or determined
                                                                           27               uniformly by the Court; and
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                                                                            1         e.    This action presents no difficulty that would impede its management by
                                                                            2               the Court as a class action, which is the best available means by which
                                                                            3               Plaintiff and Class Members can seek redress for the harm caused to them
                                                                            4               by Defendant.
                                                                            5          74. Inconsistent Rulings. Because Plaintiff seeks relief for all members of
                                                                            6   the Class, the prosecution of separate actions by individual members would create a
                                                                            7   risk of inconsistent or varying adjudications with respect to individual members of
                                                                            8   the Class, which would establish incompatible standards of conduct for Defendant.
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                                                                            9          75. Injunctive/Declaratory Relief. The prerequisites to maintaining a class
                                                                           10   action for injunctive or equitable relief are met as Defendant has acted or refused to
                                                                           11   act on grounds generally applicable to the Class, thereby making appropriate final
                                                                           12   injunctive or declaratory relief with respect to the Class as a whole.
                                                                           13          76. Manageability. Plaintiff and Plaintiff’s counsel are unaware of any
                                                                           14   difficulties that are likely to be encountered in the management of this action that
                                                                           15   would preclude its maintenance as a class action.
                                                                           16                            VII. CAUSES OF ACTION
                                                                           17                                       COUNT ONE
                                                                           18                    Violation of California Unfair Competition Law
                                                                           19                        (Cal. Bus. & Prof. Code §§ 17200, et seq.)
                                                                           20              (On Behalf of the California Subclass and Nationwide Class)
                                                                           21          77. Incorporation by Reference. Plaintiff re-alleges and incorporates by
                                                                           22   reference the allegations contained in paragraphs ¶¶ 1-24, 28-31, 32-76, and 147, as
                                                                           23   though fully set forth herein.
                                                                           24          78. California Subclass. This cause of action is brought pursuant to Business
                                                                           25   and Professions Code Section 17200, et seq., on behalf of Plaintiff and a California
                                                                           26   Subclass who purchased the Products within the applicable statute of limitations.
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                                                                            1         79. The UCL. California Business & Professions Code, sections 17200, et
                                                                            2   seq. (the “UCL”) prohibits unfair competition and provides, in pertinent part, that
                                                                            3   “unfair competition shall mean and include unlawful, unfair or fraudulent business
                                                                            4   practices and unfair, deceptive, untrue or misleading advertising.”
                                                                            5         80. False Advertising Claims. Defendant, in its advertising and marketing
                                                                            6   of the Products, made misleading statements and a fraudulent omission regarding the
                                                                            7   quality and characteristics of the Products—specifically, the Challenged
                                                                            8   Representations and Material Omission—despite the fact the Products contain PFAS
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                                                                            9   not environmentally sustainable nor safe for everyday wear and use, nor are they
                                                                           10   designed specifically to promote human health, as advertised by Defendant. Instead,
                                                                           11   the Products pose an unreasonable safety hazard to both environment, and human
                                                                           12   health, especially when worn on the underside of the wrist for prolonged hours of
                                                                           13   days and/or nights, as directed by Defendant, where the body’s absorption rate of the
                                                                           14   toxic chemicals is heightened. Such claims and omissions appear on the advertising
                                                                           15   and marketing of the Products, which are sold online, at retail stores, and point-of-
                                                                           16   purchase displays.
                                                                           17         81.   Defendant’s Deliberately Fraudulent Marketing Scheme. Defendant
                                                                           18   does not have any reasonable basis for the claims about the Products made in
                                                                           19   Defendant’s advertising because the Products contain PFAS – toxic chemicals, and
                                                                           20   are thus, not economically sustainable, and are dangerous for human health when are
                                                                           21   worn every day or every night, as directed and intended by Defendant, and worn on
                                                                           22   the underside of the wrist, where the body’s absorption rate of the toxic chemicals is
                                                                           23   heightened. Defendant knew (and knows) that the Products contain PFAS pose an
                                                                           24   unreasonable safety hazard, and yet Defendant intentionally advertised and marketed
                                                                           25   the Products to deceive reasonable consumers and continues to do so presently.
                                                                           26         82. Misleading Advertising Claims Cause Purchase of Products.
                                                                           27   Defendant’s advertising and marketing of the Products led to, and continues to lead
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                                                                            1   to, reasonable consumers, including Plaintiff, believing that the Products are safe for
                                                                            2   everyday wear and use, environmentally sustainable, and specifically designed to
                                                                            3   promote human health, and, thus, are free from toxic chemicals like PFAS.
                                                                            4         83. Injury in Fact. Plaintiff and the California Subclass have suffered injury
                                                                            5   in fact and have lost money or property as a result of and in reliance upon the
                                                                            6   Challenged Representations and Material Omission—namely Plaintiff and the
                                                                            7   California Subclass lost the purchase price for the Products they bought from the
                                                                            8   Defendant.
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                                                                            9         84. Conduct Violates the UCL. Defendant’s conduct, as alleged herein,
                                                                           10   constitutes unfair, unlawful, and fraudulent business practices pursuant to the UCL.
                                                                           11   The UCL prohibits unfair competition and provides, in pertinent part, that “unfair
                                                                           12   competition shall mean and include unlawful, unfair or fraudulent business practices
                                                                           13   and unfair, deceptive, untrue or misleading advertising.” Cal. Bus & Prof. Code §
                                                                           14   17200. In addition, Defendant’s use of various forms of advertising media to
                                                                           15   advertise, call attention to, or give publicity to the sale of goods or merchandise that
                                                                           16   are not as represented in any manner constitutes unfair competition, unfair, deceptive,
                                                                           17   untrue or misleading advertising, and an unlawful business practice within the
                                                                           18   meaning of Business and Professions Code Sections 17200 and 17531, which
                                                                           19   advertisements have deceived and are likely to deceive the consuming public, in
                                                                           20   violation of Business and Professions Code Section 17200.
                                                                           21         85. No Reasonably Available Alternatives/Legitimate Business Interests.
                                                                           22   Defendant failed to avail itself of reasonably available, lawful alternatives to further
                                                                           23   its legitimate business interests.
                                                                           24         86. Business Practice. All of the conduct alleged herein occurred and
                                                                           25   continues to occur in Defendant’s business. Defendant’s wrongful conduct is part of
                                                                           26   a pattern, practice and/or generalized course of conduct, which will continue on a
                                                                           27   daily basis until Defendant voluntarily alters its conduct or Defendant is otherwise
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                                                                            1   ordered to do so.
                                                                            2          87. Injunction. Pursuant to Business and Professions Code Sections 17203
                                                                            3   and 17535, Plaintiff and the members of the California Subclass seek an order of this
                                                                            4   Court enjoining Defendant from continuing to engage, use, or employ its practice of
                                                                            5   advertising and marketing the sale and use of the Products. Likewise, Plaintiff and the
                                                                            6   members of the California Subclass seek an order requiring Defendant to disclose
                                                                            7   such misrepresentations and omission, and to preclude Defendant’s failure to disclose
                                                                            8   the existence and significance of said misrepresentations.
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                                                                            9          88. Causation/Damages. As a direct and proximate result of Defendant’s
                                                                           10   misconduct in violation of the UCL, Plaintiff and members of the California Subclass
                                                                           11   were harmed in the amount of the purchase price they paid for the Products. Further,
                                                                           12   Plaintiff and members of the California Subclass have suffered and continue to suffer
                                                                           13   economic losses and other damages including, but not limited to, the amounts paid
                                                                           14   for the Products, and any interest that would have accrued on those monies, in an
                                                                           15   amount to be proven at trial. Accordingly, Plaintiff seeks a monetary award for
                                                                           16   violation of the UCL in damages, restitution, and/or disgorgement of ill-gotten gains
                                                                           17   to compensate Plaintiff and the California Subclass for said monies, as well as
                                                                           18   injunctive relief to enjoin Defendant’s misconduct to prevent ongoing and future harm
                                                                           19   that will result.
                                                                           20          89. Punitive Damages. Plaintiff seeks punitive damages pursuant to this
                                                                           21   cause of action for violation of the UCL on behalf of Plaintiff and the California
                                                                           22   Subclass. Defendant’s unfair, fraudulent, and unlawful conduct described herein
                                                                           23   constitutes malicious, oppressive, and/or fraudulent conduct warranting an award of
                                                                           24   punitive damages as permitted by law. Defendant’s misconduct is malicious as
                                                                           25   Defendant acted with the intent to cause Plaintiff and consumers to pay for Products
                                                                           26   that they were not, in fact, receiving. Defendant willfully and knowingly disregarded
                                                                           27   the rights of Plaintiff and consumers as Defendant was, at all times, aware of the
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                                                                            1   probable dangerous consequences of its conduct and deliberately failed to avoid
                                                                            2   misleading consumers, including Plaintiff. Defendant’s misconduct is oppressive as,
                                                                            3   at all relevant times, said conduct was so vile, base, and/or contemptible that
                                                                            4   reasonable people would look down upon it and/or otherwise would despise such
                                                                            5   corporate misconduct. Said misconduct subjected Plaintiff and consumers to cruel
                                                                            6   and unjust hardship in knowing disregard of their rights. Defendant’s misconduct is
                                                                            7   fraudulent as Defendant intentionally misrepresented and/or concealed material facts
                                                                            8   with the intent to deceive Plaintiff and consumers. The wrongful conduct constituting
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                                                                            9   malice, oppression, and/or fraud was committed, authorized, adopted, approved,
                                                                           10   and/or ratified by officers, directors, and/or managing agents of Defendant.
                                                                           11         90.   For all Class members outside of the California Subclass, these claims
                                                                           12   are brought under the relevant consumer protection statute for the state in which they
                                                                           13   reside. For each state, the relevant statutes are as follows: Alabama—Deceptive Trade
                                                                           14   Practices Act (Ala. Code § 8-19-1, et seq.); Alaska—Unfair Trade Practices and
                                                                           15   Consumer Protection Act (Alaska Stat. § 45.50.471, et seq.); Arizona—Consumer
                                                                           16   Fraud Act (Ariz. Rev. Stat. Ann. § 44-1521, et seq.); Arkansas—Deceptive Trade
                                                                           17   Practices Act (Ark. Code Ann. § 4-88-101, et seq.); Colorado—Consumer Protection
                                                                           18   Act (Colo. Rev. Stat. § 6-1-101, et seq.); Connecticut—Connecticut Unfair Trade
                                                                           19   Practices Act (Conn. Gen. Stat. § 42-110a, et seq.); Delaware—Consumer Fraud Act
                                                                           20   (Del. Code Ann. tit. 6, § 2511, et seq.); District of Columbia—D.C. Code § 28-3901,
                                                                           21   et seq.; Florida—Deceptive and Unfair Trade Practices Act (Fla. Stat. § 501.20, et
                                                                           22   seq.); Georgia—Fair Business Practices Act (Ga. Code Ann. § 10-1-390, et seq.);
                                                                           23   Hawaii—Haw. Rev. Stat. § 480-1, et seq.); Idaho—Consumer Protection Act (Idaho
                                                                           24   Code Ann. § 48-601, et seq.); Illinois—Consumer Fraud and Deceptive Business
                                                                           25   Practices Act (815 Ill. Comp. Stat. 505/1, et seq.); Indiana—Deceptive Consumer
                                                                           26   Sales Act (Ind. Code § 24-5-0.5-1, et seq.); Iowa—Iowa Code § 7.14.16, et seq.);
                                                                           27   Kansas—Consumer Protection Act (Kan. Stat. Ann. § 50-623, et seq.); Kentucky—
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                                                                            1   Consumer Protection Act (Ky. Rev. Stat. Ann. § 367.110, et seq.); Louisiana—Unfair
                                                                            2   Trade Practices and Consumer Protection Law (La. Rev. Stat. Ann. § 51:1401, et
                                                                            3   seq.); Maine—Unfair Trade Practices Act (Me. Rev. Stat. Ann. tit. 5, § 205A, et seq.);
                                                                            4   Maryland—Maryland Consumer Protection Act (Md. Code Ann., Com. Law § 13-
                                                                            5   101, et seq.); Massachusetts—Regulation of Business Practice and Consumer
                                                                            6   Protection Act (Mass. Gen. Laws Ann. ch. 93A, §§ 1-11); Minnesota—False
                                                                            7   Statement in Advertising Act (Minn. Stat. § 8.31, Minn. Stat. § 325F.67), Prevention
                                                                            8   of Consumer Fraud Act (Minn. Stat. § 325F.68, et seq.); Mississippi—Consumer
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                                                                            9   Protection Act (Miss. Code Ann. § 75-24, et seq.); Missouri—Merchandising
                                                                           10   Practices Act (Mo. Rev. Stat. § 407.010, et seq.); Montana—Unfair Trade Practices
                                                                           11   and Consumer Protection Act (Mont. Code. Ann. § 30-14-101, et seq.); Nebraska—
                                                                           12   Consumer Protection Act (Neb. Rev. Stat. § 59-1601); Nevada—Trade Regulation
                                                                           13   and Practices Act (Nev. Rev. Stat. § 598.0903, et seq., Nev Rev. Stat. § 41.600); New
                                                                           14   Hampshire—Consumer Protection Act (N.H. Rev. Stat. Ann. § 358-A:1, et seq.);
                                                                           15   New Jersey—N.J. Stat. Ann. § 56:8-1, et seq.); New Mexico—Unfair Practices Act
                                                                           16   (N.M. Stat. § 57-12-1, et seq.); New York—N.Y. Gen. Bus. Law §§ 349, 350, N.Y.
                                                                           17   Exec. Law § 63(12); North Carolina—N.C. Gen. Stat. § 75-1.1, et seq.); North
                                                                           18   Dakota—N.D. Cent. Code § 51-15-01, et seq.); Ohio—Consumer Sales Practices Act
                                                                           19   (Ohio Rev. Code Ann. § 1345.01, et seq.); Oklahoma—Consumer Protection Act
                                                                           20   (Okla. Stat. tit. 15, § 751, et seq.); Oregon—Unlawful Trade Practices Law (Or. Rev.
                                                                           21   Stat. § 646.605, et seq.); Pennsylvania—Unfair Trade Practices and Consumer
                                                                           22   Protection Law (73 Pa. Stat. Ann. § 201-1, et seq.); Rhode Island—Unfair Trade
                                                                           23   Practice and Consumer Protection Act (R.I. Gen. Laws § 6-13.1-1, et seq.); South
                                                                           24   Carolina—Unfair Trade Practices Act (S.C. Code Ann. § 39-5-10, et seq.); South
                                                                           25   Dakota—Deceptive Trade Practices and Consumer Protection Law (S.D. Codified
                                                                           26   Laws § 37-24-1, et seq.); Tennessee—Consumer Protection Act (Tenn. Code Ann. §
                                                                           27   47-18-101, et seq.); Texas—Deceptive Trade Practices—Consumer Protection Act
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                                                                            1   (Tex. Bus. & Com. Code Ann. § 17.41, et seq.); Utah—Consumer Sales Practices Act
                                                                            2   (Utah Code Ann. § 13-11-1, et seq.); Vermont—Consumer Fraud Act (Vt. Stat. Ann.
                                                                            3   tit. 9, § 2451, et seq.); Virginia—Consumer Protection Act (Va. Code Ann. § 59.1-
                                                                            4   196, et seq.); Washington—Consumer Protection Act (Wash. Rev. Code § 19.86.010,
                                                                            5   et seq.); West Virginia—W. Va. Code § 46A-6-101, et seq.); Wisconsin—Wis. Stat.
                                                                            6   § 100.18, 100.20; Wyoming—Consumer Protection Act (Wyo. Stat. Ann. § 40-12-
                                                                            7   101, et seq.).
                                                                            8                                    “Unfair” Prong
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                                                                            9         91. Unfair Standard. Under the UCL, a challenged activity is “unfair” when
                                                                           10   “any injury it causes outweighs any benefits provided to consumers and the injury is
                                                                           11   one that the consumers themselves could not reasonably avoid.” Camacho v. Auto
                                                                           12   Club of Southern California, 142 Cal. App. 4th 1394, 1403 (2006).
                                                                           13         92. Injury. Defendant’s action of mislabeling the Products with the
                                                                           14   Challenged Representations and omission does not confer any benefit to consumers;
                                                                           15   rather, doing so causes injuries to consumers, who do not receive Products
                                                                           16   commensurate with their reasonable expectations, overpay for the Products, receive
                                                                           17   Products of lesser standards than what they reasonably expected to receive, and are
                                                                           18   exposed to increased health risks. Consumers cannot avoid any of the injuries caused
                                                                           19   by Defendant’s deceptive advertising and marketing of the Products. Accordingly,
                                                                           20   the injuries caused by Defendant’s deceptive advertising and marketing outweigh any
                                                                           21   benefits.
                                                                           22         93. Balancing Test. Some courts conduct a balancing test to decide if a
                                                                           23   challenged activity amounts to unfair conduct under California Business and
                                                                           24   Professions Code Section 17200. They “weigh the utility of the defendant’s conduct
                                                                           25   against the gravity of the harm to the alleged victim.” Davis v. HSBC Bank Nevada,
                                                                           26   N.A., 691 F.3d 1152, 1169 (9th Cir. 2012).
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                                                                            1         94. No Utility. Here, Defendant’s conduct of labeling the Products with the
                                                                            2   Challenged Representations and Material Omission when the Products contain PFAS,
                                                                            3   toxic chemical substances harmful to the environment, which also pose risk of serious
                                                                            4   harm to human health, especially when absorbed by the skin daily and all day long as
                                                                            5   per use directed and intended by Defendant, and on the underside of the wrist, where
                                                                            6   the body’s absorption rate of the toxic chemicals is heightened. Thus, the utility of
                                                                            7   Defendant’s conduct is vastly outweighed by the gravity of harm.
                                                                            8         95. Legislative Declared Policy. Some courts require that “unfairness must
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                                                                            9   be tethered to some legislative declared policy or proof of some actual or threatened
                                                                           10   impact on competition.” Lozano v. AT&T Wireless Servs. Inc., 504 F. 3d 718, 735
                                                                           11   (9th Cir. 2007).
                                                                           12         96. Unfair Conduct. Defendant’s advertising and marketing of the Products,
                                                                           13   as alleged herein, is deceptive, misleading, and unreasonable, and constitutes unfair
                                                                           14   conduct. Defendant knew or should have known of its unfair conduct. Defendant’s
                                                                           15   misrepresentations and omission constitute an unfair business practice within the
                                                                           16   meaning of California Business and Professions Code Section 17200.
                                                                           17         97. Reasonably Available Alternatives. There existed reasonably available
                                                                           18   alternatives to further Defendant’s legitimate business interests, other than the
                                                                           19   conduct described herein. Defendant could have refrained from labeling the Products
                                                                           20   with the Challenged Representations.
                                                                           21         98. Defendant’s Wrongful Conduct. All of the conduct alleged herein
                                                                           22   occurs and continues to occur in Defendant’s business. Defendant’s wrongful conduct
                                                                           23   is part of a pattern or generalized course of conduct repeated on thousands of
                                                                           24   occasions daily.
                                                                           25         99. Injunction. Pursuant to Business and Professions Code Sections 17203,
                                                                           26   Plaintiff and the California Subclass seek an order of this Court enjoining Defendant
                                                                           27   from continuing to engage, use, or employ its practices of advertising and marketing
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                                                                            1   the Products with the Challenged Representations.
                                                                            2          100. Causation/Damages. Plaintiff and the California Subclass have suffered
                                                                            3   injury in fact, have lost money and were exposed to increased health risks as a result
                                                                            4   of Defendant’s unfair conduct. Plaintiff and the California Subclass paid an
                                                                            5   unwarranted premium for these Products. Specifically, Plaintiff and the California
                                                                            6   Subclass paid for Products which were advertised as economically sustainable, safe
                                                                            7   for everyday wear and use, and designed specifically to promote human health, and,
                                                                            8   thus, free from toxic chemicals like PFAS. PFAS are harmful to the environment and
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                                                                            9   pose serious risk of harm to the public, especially when they are worn daily for
                                                                           10   prolonged periods of time – entire day and/or night – as directed by Defendant, on the
                                                                           11   underside of the wrist where the body’s absorption rate of the toxic chemicals is
                                                                           12   heightened. Plaintiff and the California Subclass would not have purchased the
                                                                           13   Products, or would have paid substantially less for the Products, if they had known
                                                                           14   that the Products’ advertising and marketing were deceptive. Accordingly, Plaintiff
                                                                           15   seeks damages, restitution and/or disgorgement of ill-gotten gains pursuant to the
                                                                           16   UCL.
                                                                           17                                   “Fraudulent” Prong
                                                                           18          101. Fraud Standard. The UCL considers conduct fraudulent (and prohibits
                                                                           19   said conduct) if it is likely to deceive members of the public. Bank of the West v.
                                                                           20   Superior Court, 2 Cal. 4th 1254, 1267 (1992).
                                                                           21          102. Fraudulent & Material Challenged Representations and Omission.
                                                                           22   Defendant used the Challenged Representations and Material Omission with the
                                                                           23   intent to sell the Products to consumers, including Plaintiff and the California
                                                                           24   Subclass. The Challenged Representations and Material Omission are deceptive, and
                                                                           25   Defendant knew, or should have known, of its deception. The Challenged
                                                                           26   Representations and omission are likely to mislead consumers into purchasing the
                                                                           27   Products because they are material to the average, ordinary, and reasonable consumer.
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                                                                            1         103. Fraudulent Business Practice. As alleged herein, the misrepresentations
                                                                            2   and omission by Defendant constitute a fraudulent business practice in violation of
                                                                            3   California Business & Professions Code Section 17200.
                                                                            4         104. Reasonable and Detrimental Reliance. Plaintiff and the California
                                                                            5   Subclass reasonably and detrimentally relied on the material and deceptive
                                                                            6   Challenged Representations and omission to their detriment in that they purchased
                                                                            7   the Products.
                                                                            8         105. Reasonably Available Alternatives. Defendant has reasonably available
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                                                                            9   alternatives to further its legitimate business interests, other than the conduct
                                                                           10   described herein. Defendant could have refrained from labeling the Products with the
                                                                           11   Challenged Representations and omission.
                                                                           12         106. Business Practice. All of the conduct alleged herein occurs and continues
                                                                           13   to occur in Defendant’s business. Defendant’s wrongful conduct is part of a pattern
                                                                           14   or generalized course of conduct.
                                                                           15         107. Injunction. Pursuant to Business and Professions Code Sections 17203,
                                                                           16   Plaintiff and the California Subclass seek an order of this Court enjoining Defendant
                                                                           17   from continuing to engage, use, or employ its practice of advertising and marketing
                                                                           18   the Products with the Challenged Representations and Material Omission.
                                                                           19         108. Causation/Damages. Plaintiff and the California Subclass have suffered
                                                                           20   injury in fact and have lost money as a result of Defendant’s fraudulent conduct.
                                                                           21   Plaintiff paid an unwarranted premium for the Products. Specifically, Plaintiff and the
                                                                           22   California Subclass paid for Products that are safe for everyday wear and use,
                                                                           23   environmentally sustainable, and designed to promote human health, and, thus, are
                                                                           24   free from PFAS. Instead, the Products contain dangerous toxic chemical substances,
                                                                           25   like PFAS, which are harmful to the environment and pose risk of serious harms to
                                                                           26   humans, especially when used as directed by Defendant – worn on the wrist all day –
                                                                           27   to track their fitness/health, or all night – to track their sleep. Plaintiff and the
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                                                                            1   California Subclass would not have purchased the Products if they had known the
                                                                            2   truth. Accordingly, Plaintiff seeks damages, restitution, and/or disgorgement of ill-
                                                                            3   gotten gains pursuant to the UCL.
                                                                            4                                     “Unlawful” Prong
                                                                            5         109. Unlawful Standard. The UCL identifies violations of other laws as
                                                                            6   “unlawful practices that the unfair competition law makes independently actionable.”
                                                                            7   Velazquez v. GMAC Mortg. Corp., 605 F. Supp. 2d 1049, 1068 (C.D. Cal. 2008).
                                                                            8         110. Violations of CLRA and FAL. Defendant’s advertising and marketing
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                                                                            9   of the Products, as alleged herein, violates California Civil Code sections 1750, et
                                                                           10   seq. (the “CLRA”) and California Business and Professions Code sections 17500, et
                                                                           11   seq. (the “FAL”) as set forth below in the sections regarding those causes of action.
                                                                           12         111. Fraud.        Additionally,    Defendant’s     use   of    the   Challenged
                                                                           13   Misrepresentations to sell the Products violates California Civil Code sections 1572
                                                                           14   (actual fraud), 1573 (constructive fraud), 1709-1710 (fraudulent deceit), and 1711
                                                                           15   (deceit upon the public), as set forth above.
                                                                           16         112. Additional Violations. Defendant’s conduct in making the deceptive
                                                                           17   representations and omission described herein constitutes a knowing failure to adopt
                                                                           18   policies in accordance with and/or adherence to applicable laws, as set forth herein,
                                                                           19   all of which are binding upon and burdensome to its competitors. This conduct
                                                                           20   engenders an unfair competitive advantage for Defendant, thereby constituting an
                                                                           21   unfair, fraudulent and/or unlawful business practice under California Business &
                                                                           22   Professions     Code     sections     17200-17208.       Additionally,      Defendant’s
                                                                           23   misrepresentations of material facts, as set forth herein, violate California Civil Code
                                                                           24   sections 1572, 1573, 1709, 1710, 1711, and 1770, as well as the common law.
                                                                           25         113. Unlawful Conduct. Defendant’s advertising and marketing of the
                                                                           26   Products, as alleged herein, are deceptive, misleading, and unreasonable, and
                                                                           27   constitute unlawful conduct. Defendant knew or should have known of its unlawful
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                                                                            1   conduct.
                                                                            2          114. Reasonably Available Alternatives. Defendant had reasonably
                                                                            3   available alternatives to further its legitimate business interests, other than the conduct
                                                                            4   described herein. Defendant could have refrained from advertising the Products with
                                                                            5   the Challenged Representations and Material Omission.
                                                                            6          115. Business Practice. All of the conduct alleged herein occurs and continues
                                                                            7   to occur in Defendant’s business. Defendant’s wrongful conduct is part of a pattern
                                                                            8   or generalized course of conduct.
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                                                                            9          116. Injunction. Pursuant to Business and Professions Code Section 17203,
                                                                           10   Plaintiff and the California Subclass seek an order of this Court enjoining Defendant
                                                                           11   from continuing to engage, use, or employ its practice of deceptive advertising of the
                                                                           12   Products.
                                                                           13          117. Causation/Damages. Plaintiff and the California Subclass have suffered
                                                                           14   injury in fact and have lost money as a result of Defendant’s unlawful conduct.
                                                                           15   Plaintiff and the California Subclass paid an unwarranted premium for the Products.
                                                                           16   Plaintiff and the California Subclass would not have purchased the Products if they
                                                                           17   had known that Defendant purposely deceived consumers into believing that the
                                                                           18   Products are safe for everyday wear and use, environmentally sustainable, and
                                                                           19   designed specifically to promote human health, and are thus, free from toxic chemical
                                                                           20   substances like PFAS. PFAS are harmful to the environment and pose risks of serious
                                                                           21   harm to humans, especially when absorbed by skin daily, and all day long – as per
                                                                           22   use directed and intended by Defendant – on the underside of the wrist, where the
                                                                           23   body’s absorption rate of the toxic chemicals is heightened. Accordingly, Plaintiff
                                                                           24   seeks damages, restitution and/or disgorgement of ill-gotten gains pursuant to the
                                                                           25   UCL.
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                                                                            1                                        COUNT TWO
                                                                            2                      Violation of California False Advertising Law
                                                                            3                         (Cal. Bus. & Prof. Code §§ 17500, et seq.)
                                                                            4                             (On Behalf of the California Subclass)
                                                                            5         118. Incorporation by reference. Plaintiff re-alleges and incorporates by
                                                                            6   reference the allegations contained in paragraphs ¶¶ 1-24, 28-31, 32-76, and 147, as
                                                                            7   though fully set forth herein.
                                                                            8         119. California Subclass. Plaintiff brings this claim individually and on
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                                                                            9   behalf of the California Subclass who purchased the Products within the applicable
                                                                           10   statute of limitations.
                                                                           11         120. FAL Standard. The False Advertising Law, codified at Cal. Bus. & Prof.
                                                                           12   Code section 17500, et seq., prohibits “unfair, deceptive, untrue or misleading
                                                                           13   advertising[.]”
                                                                           14         121. Material Challenged Representations Disseminated to Public.
                                                                           15   Defendant violated section 17500 when it advertised and marketed the Products
                                                                           16   through the unfair, deceptive, and misleading Material Omission and Challenged
                                                                           17   Representations disseminated to the public through the Products’ advertising and
                                                                           18   marketing. These representations were deceptive because the Products do not
                                                                           19   conform to them. The representations were material because they are likely to mislead
                                                                           20   a reasonable consumer into purchasing the Products.
                                                                           21         122. Knowledge. In making and disseminating the representations alleged
                                                                           22   herein, Defendant knew or should have known that the representations were untrue
                                                                           23   or misleading, and acted in violation of § 17500.
                                                                           24         123. Intent to Sell. Defendant’s Material Omission and Challenged
                                                                           25   Representations were specifically designed to induce reasonable consumers, like
                                                                           26   Plaintiff and the California Subclass, to purchase the Products.
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                                                                            1         124. Causation/Damages. As a direct and proximate result of Defendant’s
                                                                            2   misconduct in violation of the FAL, Plaintiff and members of the California Subclass
                                                                            3   were harmed in the amount of the purchase price they paid for the Products. Further,
                                                                            4   Plaintiff and members of the Class have suffered and continue to suffer economic
                                                                            5   losses and other damages including, but not limited to, the amounts paid for the
                                                                            6   Products, and any interest that would have accrued on those monies, in an amount to
                                                                            7   be proven at trial. Accordingly, Plaintiff seeks a monetary award for violation of the
                                                                            8   FAL in damages, restitution, and/or disgorgement of ill-gotten gains to compensate
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                                                                            9   Plaintiff and the California Subclass for said monies, as well as injunctive relief to
                                                                           10   enjoin Defendant’s misconduct to prevent ongoing and future harm that will result.
                                                                           11         125. Punitive Damages. Defendant’s unfair, fraudulent, and unlawful conduct
                                                                           12   described herein constitutes malicious, oppressive, and/or fraudulent conduct
                                                                           13   warranting     an    award      of    punitive     damages      as      permitted   by
                                                                           14   law. Defendant’s misconduct is malicious as Defendant acted with the intent to cause
                                                                           15   Plaintiff and consumers to pay for a Products that they were not, in fact,
                                                                           16   receiving. Defendant willfully and knowingly disregarded the rights of Plaintiff and
                                                                           17   consumers as Defendant was aware of the probable dangerous consequences of their
                                                                           18   conduct and deliberately failed to avoid misleading consumers, including
                                                                           19   Plaintiff. Defendant’s misconduct is oppressive as, at all relevant times, said conduct
                                                                           20   was so vile, base, and/or contemptible that reasonable people would look down upon
                                                                           21   it and/or otherwise would despise such corporate misconduct. Said misconduct
                                                                           22   subjected Plaintiff and consumers to cruel and unjust hardship in knowing disregard
                                                                           23   of their rights. Defendant’s misconduct is fraudulent as Defendant, at all relevant
                                                                           24   times, intentionally misrepresented and/or concealed material facts with the intent to
                                                                           25   deceive Plaintiff and consumers. The wrongful conduct constituting malice,
                                                                           26   oppression, and/or fraud was committed, authorized, adopted, approved, and/or
                                                                           27   ratified by officers, directors, and/or managing agents of Defendant.
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                                                                            1                                       COUNT THREE
                                                                            2                 Violation of California Consumers Legal Remedies Act
                                                                            3                                (Cal. Civ. Code §§ 1750, et seq.)
                                                                            4                             (On Behalf of the California Subclass)
                                                                            5         126. Incorporation by Reference. Plaintiff re-alleges and incorporates by
                                                                            6   reference the allegations contained in paragraphs ¶¶ 1-24, 28-31, 32-76, and 147, as
                                                                            7   though fully set forth herein.
                                                                            8         127. California Subclass. Plaintiff brings this claim individually and on
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                                                                            9   behalf of the California Subclass who purchased the Products within the applicable
                                                                           10   statute of limitations.
                                                                           11         128. CLRA Standard. The CLRA provides that “unfair methods of
                                                                           12   competition and unfair or deceptive acts or practices undertaken by any person in a
                                                                           13   transaction intended to result or which results in the sale or lease of goods or services
                                                                           14   to any consumer are unlawful.”
                                                                           15         129. Goods/Services. The Products are “goods,” as defined by the CLRA in
                                                                           16   California Civil Code §1761(a).
                                                                           17         130. Defendant. Defendant is “person,” as defined by the CLRA in California
                                                                           18   Civil Code §1761(c).
                                                                           19         131. Consumers. Plaintiff and members of the California Subclass are
                                                                           20   “consumers,” as defined by the CLRA in California Civil Code §1761(d).
                                                                           21         132. Transactions. The purchase of the Products by Plaintiff and members of
                                                                           22   the California Subclass are “transactions” as defined by the CLRA under California
                                                                           23   Civil Code section 1761(e).
                                                                           24         133. Violations of the CLRA. Defendant violated the following sections of
                                                                           25   the CLRA by selling the Products to Plaintiff and the California Subclass through the
                                                                           26   misleading, deceptive, and fraudulent Challenged Representations and Material
                                                                           27   Omission:
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                                                                            1         a.      Section    1770(a)(5)     by   representing     that   the   Products       have
                                                                            2                 “characteristics, . . . uses [or] benefits . . . which they do not have.”
                                                                            3         b.      Section 1770(a)(7) by representing that the Products “are of a particular
                                                                            4                 standard, quality, or grade . . . when they are of another.”
                                                                            5         c.      Section 1770(a)(9) by advertising the Products “with [the] intent not to
                                                                            6                 sell [] as advertised.”
                                                                            7          134. Knowledge. Defendant’s uniform and material representations and
                                                                            8   omission regarding the Products were likely to deceive, and Defendant knew or
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                                                                            9   should have known that its Challenged Representations and Material Omission were
                                                                           10   misleading.
                                                                           11          135. Malicious. Defendant’s conduct is malicious, fraudulent, and wanton in
                                                                           12   that Defendant intentionally misled and withheld material information from
                                                                           13   consumers, including Plaintiff, to increase the sale of the Product.
                                                                           14          136. Plaintiff Could Not Have Avoided Injury. Plaintiff and members of the
                                                                           15   California Subclass could not have reasonably avoided such injury. Plaintiff and
                                                                           16   members of the California Subclass were unaware of the existence of the facts that
                                                                           17   Defendant suppressed and failed to disclose, and Plaintiff and members of the
                                                                           18   California Subclass would not have purchased the Products and/or would have
                                                                           19   purchased them on different terms had they known the truth.
                                                                           20          137. Causation/Reliance/Materiality. Plaintiff and the California Subclass
                                                                           21   suffered harm as a result of Defendant’s violations of the CLRA because they relied
                                                                           22   on the Material Omission and the Challenged Representations in deciding to purchase
                                                                           23   the Products. The Material Omission and Challenged Representations were a
                                                                           24   substantial factor. The Material Omission and Challenged Representations were
                                                                           25   material because a reasonable consumer would consider it important in deciding
                                                                           26   whether to purchase the Products.
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                                                                            1         138. As a direct and proximate result of Defendant’s misconduct in violation
                                                                            2   of the CLRA, Plaintiff and members of the California Subclass were harmed in the
                                                                            3   amount of the purchase price they paid for the Products. Accordingly, Plaintiff seeks
                                                                            4   a monetary award for violation of this Act in the form of restitution, and/or
                                                                            5   disgorgement of ill-gotten gains to compensate Plaintiff and the California Subclass
                                                                            6   for said monies.
                                                                            7         139. By a letter dated December 31, 2024, Plaintiff advised Defendant of its
                                                                            8   false and misleading representations and omissions pursuant to California Civil Code
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                                                                            9   Section 1782(a).
                                                                           10         140. Pursuant to Section 1780(a) of the Act, Plaintiff seeks injunctive relief in
                                                                           11   the form of an order enjoining the above-described wrongful acts and practices of
                                                                           12   Defendant, including, but not limited to, an order enjoining Defendant from
                                                                           13   continuing to make the label and advertising claims challenged herein. Plaintiff also
                                                                           14   requests an order awarding Plaintiff and the Class restitution of the money wrongfully
                                                                           15   acquired by Defendant. Plaintiff shall be irreparably harmed if such an order is not
                                                                           16   granted.
                                                                           17         141. Plaintiff respectfully requests that the Court enjoin Defendant from
                                                                           18   continuing to employ the unlawful methods, acts, and practices alleged herein
                                                                           19   pursuant to § 1780(a)(2). In addition, Defendant should be compelled to provide
                                                                           20   restitution to consumers who paid for Products that are not what they expected to
                                                                           21   receive due to Defendant’s misrepresentations.
                                                                           22         142. Plaintiff and members of the Class are entitled to equitable relief as no
                                                                           23   adequate remedy at law exists.
                                                                           24         143. Injunctive relief is appropriate on behalf of Plaintiff and members of the
                                                                           25   Class because Defendant continues to deceptively market the Products as being safe
                                                                           26   and suitable for everyday wear. Injunctive relief is necessary to prevent Defendant
                                                                           27   from continuing to engage in the unlawful conduct described herein and to prevent
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                                                                            1   future harm—none of which can be achieved through available legal remedies.
                                                                            2   Further, injunctive relief, in the form of advertising or marketing modifications, is
                                                                            3   necessary to dispel public misperception about the Products that has resulted from
                                                                            4   years of Defendant’s unfair, fraudulent, and unlawful marketing efforts. Such
                                                                            5   modifications would include, remanufacturing the Products so they do not contain
                                                                            6   PFAS or removing the Challenged Representations. Such relief is also not available
                                                                            7   through a legal remedy as monetary damages may be awarded to remedy past harm
                                                                            8   (i.e., purchasers who have been misled), while injunctive relief is necessary to remedy
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                                                                            9   future harm (i.e., prevent future purchasers from being misled), under the current
                                                                           10   circumstances where the dollar amount of future damages is not reasonably
                                                                           11   ascertainable at this time. Plaintiff is, currently, unable to accurately quantify the
                                                                           12   damages caused by Defendant’s future harm (e.g., the dollar amount that Plaintiff and
                                                                           13   Class members overpay for the Products), rendering injunctive relief a necessary
                                                                           14   remedy.
                                                                           15                                     COUNT FOUR
                                                                           16                                           Fraud
                                                                           17                           (on behalf of the Nationwide Class)
                                                                           18         144. Plaintiff re-alleges and incorporates by reference the allegations
                                                                           19   contained in paragraphs ¶¶ 1-24, 28-31, 32-76, as though fully set forth herein.
                                                                           20         145. Plaintiff brings this claim individually and on behalf of the Class under
                                                                           21   California law.
                                                                           22         146. At the time Plaintiff and Class Members purchased the Products,
                                                                           23   Defendant did not disclose, but instead concealed and misrepresented, the Products
                                                                           24   sustainable, safe, and suitable for human use.
                                                                           25         147. Who, What, When, Where, and How: Since at least 2019 (when),
                                                                           26   Defendant (who) has used fluoroelastomer material for their watchbands. In 2023
                                                                           27   (when), Plaintiff Gonzalez was misled into buying Defendant’s Galaxy Watch 6
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                                                                            1   44mm, which comes with the fluoroelastomer Sport Band (what), in a Sam’s Club in
                                                                            2   El Monte, California (where). Defendant affirmatively misrepresented the Products,
                                                                            3   marketing the Products as sustainable, safe, and suitable for human use, including
                                                                            4   prolonged daily wear, and Plaintiff relied upon Defendant’s Challenged
                                                                            5   Representations and Material Omissions described supra ¶¶ 9-13 (what/how).
                                                                            6   Defendant made the Challenged Representations throughout their pervasive and
                                                                            7   widespread      marketing      scheme,     including    their   official    website
                                                                            8   (https://www.samsung.com/us) and product pages (see supra notes 10-14, 31-36)
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                                                                            9   (what/where).
                                                                           10         148. Defendant also knew that its omissions and misrepresentations regarding
                                                                           11   the Products were material, and that a reasonable consumer would rely upon
                                                                           12   Defendant’s representations (and corresponding omissions) in making purchasing
                                                                           13   decisions.
                                                                           14         149. Plaintiff and Class Members did not know—nor could they have known
                                                                           15   through reasonable diligence—about the true nature of the Products.
                                                                           16         150. Plaintiff and Class Members would have been reasonable in relying on
                                                                           17   Defendant’s misrepresentations (and corresponding omissions) in making their
                                                                           18   purchasing decisions.
                                                                           19         151. Plaintiff and Class Members had a right to reply upon Defendant’s
                                                                           20   representations (and corresponding omissions) as Defendant maintained monopolistic
                                                                           21   control over knowledge of the true quality of the Products.
                                                                           22         152. Plaintiff and Class Members sustained damages as a result of their
                                                                           23   reliance on Defendant’s omissions and misrepresentations, thus causing Plaintiff and
                                                                           24   Class Members to sustain actual losses and damages in a sum to be determined at
                                                                           25   trial, including punitive damages.
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                                                                            1                                       COUNT FIVE
                                                                            2                                   Fraudulent Inducement
                                                                            3                           (on behalf of the Nationwide Class)
                                                                            4         153. Plaintiff realleges and reincorporates by reference the allegations
                                                                            5   contained in paragraphs ¶¶ 1-24, 28-31, 32-76, and 147, as though fully set forth
                                                                            6   herein.
                                                                            7         154. Plaintiff brings this claim individually and on behalf of the Class under
                                                                            8   California law.
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                                                                            9         155. Defendant did not disclose, but instead concealed and misrepresented, the
                                                                           10   Products as discussed herein.
                                                                           11         156. Plaintiff Gonzalez was misled into buying Defendant’s Galaxy Watch 6
                                                                           12   44mm, which comes with the fluoroelastomer Sport Band, at a Sam’s Club in El
                                                                           13   Monte, California. Defendant affirmatively misrepresented the Products, marketing
                                                                           14   the Products as sustainable, safe, and suitable for human use, including prolonged
                                                                           15   daily wear, and Plaintiff relied upon Defendant’s Challenged Representations and
                                                                           16   Material Omissions described supra ¶¶ 9-13. Defendant made the Challenged
                                                                           17   Representations throughout their pervasive and widespread marketing scheme,
                                                                           18   including their official website (https://www.samsung.com/us) and product pages
                                                                           19   (see supra notes 10-14, 31-36). Plaintiff was induced to purchase the Purchased
                                                                           20   Product under the guise of the Products supporting health, wellness, and fitness.
                                                                           21   Plaintiff sought the Product for health support purposes, including heart rate
                                                                           22   monitoring and tracking sleep patterns and other data.
                                                                           23         157. Defendant knew, or should have known, that the Products were falsely
                                                                           24   portrayed and that knowledge of the safety-related issues discussed throughout was
                                                                           25   withheld from the consumer public.
                                                                           26         158. Defendant also knew that omissions and misrepresentations regarding the
                                                                           27   Product were material, and that a reasonable consumer would rely on Defendant’s
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                                                                            1   representations (and corresponding omissions) in making purchasing decision.
                                                                            2            159. Plaintiff and Class members did not know—nor could they have known
                                                                            3   through reasonable diligence—about the true quality of the Products.
                                                                            4            160. Plaintiff and Class members were reasonable in relying on Defendant’s
                                                                            5   misrepresentations (and corresponding omissions) in making their purchasing
                                                                            6   decisions.
                                                                            7            161. Plaintiff and Class members had a right to rely on Defendant’s
                                                                            8   representations (and corresponding omissions) as Defendant maintained a
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                                                                            9   monopolistic control over the Products, and what information was available regarding
                                                                           10   the Products.
                                                                           11            162. Defendant intended to induce—and did, indeed, induce—Plaintiff and
                                                                           12   Class members into purchasing the Products based upon their affirmative
                                                                           13   representations and omissions.
                                                                           14            163. Plaintiff and Class members sustained damages as a result of their
                                                                           15   reliance on Defendant’s omission and misrepresentations, thus causing Plaintiff and
                                                                           16   Class Members to sustain actual losses and damages in a sum to be determined at
                                                                           17   trial.
                                                                           18                                         COUNT SIX
                                                                           19                           Fraudulent Concealment or Omission
                                                                           20                             (on behalf of the Nationwide Class)
                                                                           21            164. Plaintiff realleges and reincorporates by reference the allegations
                                                                           22   contained in paragraphs ¶¶ 1-24, 28-31, 32-76, and 147, as though fully set forth
                                                                           23   herein.
                                                                           24            165. Plaintiff brings this claim individually and on behalf of the Class under
                                                                           25   California law.
                                                                           26            166. At all relevant times, Defendant was engaged in the business of designing,
                                                                           27   manufacturing, distributing, and selling the Products.
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                                                                            1         167. Defendant, acting through its representatives or agents, delivered the
                                                                            2   Products to its own distributors and various other distribution channels.
                                                                            3         168. Defendant willfully, falsely, and knowingly omitted material facts and
                                                                            4   made partial representations regarding the quality and character of the Products as
                                                                            5   discussed throughout.
                                                                            6         169. Rather than inform consumers of the truth regarding the Products,
                                                                            7   Defendant misrepresented the quality of the Products as discussed herein at the time
                                                                            8   of purchase.
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                                                                            9         170. Defendant made these material omissions and partial representations to
                                                                           10   boost or maintain sales of the Products, and to falsely assure purchasers of the
                                                                           11   Products that Defendant is a reputable company and that its Products are safe and
                                                                           12   suitable for human use. The omitted information and partial representations were
                                                                           13   material to consumers because the representations played a significant role in the
                                                                           14   value of the Products purchased.
                                                                           15         171. Plaintiff and Class members accepted the terms of use, which were silent
                                                                           16   on the true nature of the Products, as discussed throughout. Plaintiff and Class
                                                                           17   members had no way of knowing that Defendant’s misrepresentations as to the
                                                                           18   Products and had no way of knowing that Defendant’s misrepresentations were
                                                                           19   misleading.
                                                                           20         172. Although Defendant had a duty to ensure the accuracy of the information
                                                                           21   regarding the Products because they were in exclusive knowledge of this information,
                                                                           22   Defendant did not fulfill that duty.
                                                                           23         173. Defendant misrepresented material facts to protect their profits, which
                                                                           24   came at the expense of Plaintiff and Class members.
                                                                           25         174. Plaintiff and Class members were unaware of these material
                                                                           26   misrepresentations, and they would not have acted as they did had they known the
                                                                           27   truth. Plaintiff’s and Class members’ actions were justified given Defendant’s
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                                                                            1   misrepresentations.
                                                                            2         175. Defendant was in the exclusive control of material facts, and such facts
                                                                            3   were not known to the public.
                                                                            4         176. Due to Defendant’s misrepresentations, Plaintiff and Class members
                                                                            5   sustained injury due to the purchase of the Products that did not live up to their
                                                                            6   advertised representations. Plaintiff and Class members are entitled to recover full
                                                                            7   refunds for the Products they purchased due to Defendant’s misrepresentations.
                                                                            8         177. Defendant’s acts were done maliciously, oppressively, deliberately, and
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                                                                            9   with intent to defraud, and in reckless disregard of Plaintiff, and Class members’
                                                                           10   rights and well-being, and in part to enrich themselves at the expense of consumers.
                                                                           11   Defendant’s acts were done to gain commercial advantage over competitors, and to
                                                                           12   drive consumers away from consideration of competing products. Defendant’s
                                                                           13   conduct warrants an assessment of punitive damages in an amount sufficient to deter
                                                                           14   such conduct in the future.
                                                                           15                                    COUNT SEVEN
                                                                           16                             Fraudulent Misrepresentation
                                                                           17                           (on behalf of the Nationwide Class)
                                                                           18         178. Plaintiff realleges and reincorporates by reference the allegations
                                                                           19   contained in paragraphs ¶¶ 1-24, 28-31, 32-76, and 147, as though fully set forth
                                                                           20   herein.
                                                                           21         179. Plaintiff brings this claim individually and on behalf of the Class under
                                                                           22   California law.
                                                                           23         180. Defendant falsely represented to Plaintiff and the Class that the Products
                                                                           24   were safe and suitable for human use.
                                                                           25         181. Defendant intentionally, knowingly, and recklessly made these
                                                                           26   misrepresentations to induce Plaintiff and the Class to purchase the Products.
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                                                                            1         182. Defendant knew or should have known that their representations about
                                                                            2   the Products were false in that the Products are not safe or suitable for human use as
                                                                            3   discussed throughout. Defendant knowingly allowed its packaging, labels,
                                                                            4   advertisements, promotional materials, and websites to intentionally mislead
                                                                            5   consumers, such as Plaintiff and the Class.
                                                                            6         183. Plaintiff and the Class did in fact rely on these misrepresentations and
                                                                            7   purchased the Products to their detriment. Given the deceptive manner in which
                                                                            8   Defendant advertised, marketed, represented, and otherwise promoted the Products,
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                                                                            9   Plaintiff’s and the Class’s reliance on Defendant’s misrepresentations was justifiable.
                                                                           10         184. As a direct and proximate result of Defendant’s conduct, Plaintiff and the
                                                                           11   Class have suffered actual damages in that they would not have purchased the
                                                                           12   Products at all had they known of the safety risks associated with the Products and
                                                                           13   that they do not conform to Defendant’s advertising and marketing.
                                                                           14         185. Plaintiff and the Class seek actual damages, attorney’s fees, costs, and
                                                                           15   other such relief the Court deems proper.
                                                                           16                                     COUNT EIGHT
                                                                           17                               Negligent Misrepresentation
                                                                           18                            (on behalf of the Nationwide Class)
                                                                           19         186. Plaintiff realleges and reincorporates by reference the allegations
                                                                           20   contained in paragraphs ¶¶ 1-24, 28-31, 32-76, and 147, as though fully set forth
                                                                           21   herein.
                                                                           22         187. Plaintiff brings this claim individually and on behalf of the Class under
                                                                           23   California law.
                                                                           24         188. Defendant had a duty to Plaintiff and the Class to exercise reasonable and
                                                                           25   ordinary care in the developing, testing, manufacture, marketing, detailing,
                                                                           26   distribution, and sale of the Products.
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                                                                            1         189. Defendant breached its duty to Plaintiff and the Class by developing,
                                                                            2   testing, manufacturing, marketing, detailing, distributing, and selling the Products to
                                                                            3   Plaintiff and the Class that did not have the qualities, characteristics, and suitability
                                                                            4   for use as advertised by Defendant and by failing to promptly remove the Products
                                                                            5   from the marketplace or take other appropriate remedial action.
                                                                            6         190. Defendant knew or should have known that the qualities and
                                                                            7   characteristics of the Products were not as advertised, marketed, detailed, or otherwise
                                                                            8   represented or suitable for its intended use and were otherwise not as warranted and
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                                                                            9   represented by Defendant. Specifically, Defendant knew or should have known that
                                                                           10   the Product was not safe or suitable for human use, and raised health risks.
                                                                           11         191. As a direct and proximate result of Defendant’s conduct, Plaintiff and the
                                                                           12   Class have suffered actual damages in that they would not have purchased the
                                                                           13   Products at all had they known that the Products were not safe or suitable for human
                                                                           14   use and that the Products do not conform to the Product’s marketing, advertising, or
                                                                           15   statements.
                                                                           16         192. Plaintiff and the Class seek actual damages, attorney’s fees, costs, and
                                                                           17   any other just and proper relief available.
                                                                           18                                       COUNT NINE
                                                                           19                          Quasi-Contract / Unjust Enrichment
                                                                           20                            (on behalf of the Nationwide Class)
                                                                           21         193. Plaintiff realleges and reincorporates by reference the allegations
                                                                           22   contained in paragraphs ¶¶ 1-24, 28-31, 32-76, and 147, as though fully set forth
                                                                           23   herein.
                                                                           24         194. Plaintiff brings this claim individually and on behalf of the Class under
                                                                           25   California law.
                                                                           26         195. To the extent required by law, this cause of action is alleged in the
                                                                           27   alternative to legal claims, as permitted under Fed. R. Civ. P. 8.
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                                                                            1         196. Plaintiff and Class members conferred monetary benefits on Defendant
                                                                            2   by purchasing the Products. Defendant’s profits are funded entirely from their
                                                                            3   generated revenues – payments made by or on behalf of Plaintiff and Class Members.
                                                                            4   As such, a portion of these payments was attributable to Defendant’s Challenged
                                                                            5   Representations and Omissions.
                                                                            6         197. Defendant knew that Plaintiff and the Class conferred a benefit which
                                                                            7   Defendant accepted, and through which, Defendant was unjustly enriched in retaining
                                                                            8   the revenues derived from Plaintiff’s and Class members’ purchases of the Products.
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                                                                            9   Retention of those monies under these circumstances is unjust and inequitable
                                                                           10   because Defendant failed to disclose that contrary to its representations, the Products
                                                                           11   were not safe for everyday wear and instead contained harmful toxic chemicals like
                                                                           12   PFAS, which pose serious harm to human health and environment. Defendant’s
                                                                           13   conduct, representations, and omissions caused injuries to Plaintiff and Class
                                                                           14   members because they would not have purchased the Product if the true facts were
                                                                           15   known.
                                                                           16         198. Defendant enriched itself by saving the costs they reasonably should have
                                                                           17   spent on ensuring that the Products are free from toxic chemical substances like
                                                                           18   PFAS, and conform with their advertised representations.
                                                                           19         199. Because Defendant’s retention of the non-gratuitous benefits conferred
                                                                           20   on them by Plaintiff and Class members is unjust and inequitable, Defendant has been
                                                                           21   unjustly enriched in an amount to be determined at trial.
                                                                           22                          VIII. PRAYER FOR RELIEF
                                                                           23         200. WHEREFORE, Plaintiff, individually and on behalf of all others
                                                                           24   similarly situated, prays for judgment against Defendant as follows:
                                                                           25            a. Certification: For an order certifying this action as a class action,
                                                                           26               appointing Plaintiff as the Class Representative, and appointing
                                                                           27               Plaintiff’s Counsel as Class Counsel;
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                                                                            1          b. Declaratory Relief: For an order declaring that Defendant’s conduct
                                                                            2            violates the statutes and laws referenced herein consistent with applicable
                                                                            3            law and pursuant to only those causes of action so permitted;
                                                                            4          c. Injunction: For an order requiring Defendant to change its business
                                                                            5            practices to prevent or mitigate the risk of the consumer deception and
                                                                            6            violations of law outlined herein. This includes, for example, orders that
                                                                            7            Defendant immediately cease and desist from selling the unlawful
                                                                            8            Products in violation of law; that enjoin Defendant from continuing to
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                                                                            9            market, advertise, distribute, and sell the Products in the unlawful manner
                                                                           10            described herein; that require Defendant to engage in an affirmative
                                                                           11            advertising campaign to dispel the public misperception of the Products
                                                                           12            resulting from Defendant’s unlawful conduct; and/or that require
                                                                           13            Defendant to take all further and just corrective action, consistent with
                                                                           14            applicable law and pursuant to only those causes of action so permitted;
                                                                           15          d. Damages/Restitution/Disgorgement: For an order awarding monetary
                                                                           16            compensation in the form of damages, restitution, and/or disgorgement to
                                                                           17            Plaintiff and the Class requested herein, consistent with applicable law
                                                                           18            and pursuant to only those causes of action so permitted;
                                                                           19          e. Punitive Damages/Penalties: For an order awarding punitive damages,
                                                                           20            statutory penalties, and/or monetary fines, consistent with applicable law
                                                                           21            and pursuant to only those causes of action so permitted;
                                                                           22          f. Attorneys’ Fees & Costs: For an order awarding attorneys’ fees and
                                                                           23            costs, consistent with applicable law and pursuant to only those causes of
                                                                           24            action so permitted;
                                                                           25          g. Pre/Post-Judgment Interest: For an order awarding pre-judgment and
                                                                           26            post-judgment interest, consistent with applicable law and pursuant to
                                                                           27            only those causes of action so permitted; and
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                                                                            1              h. All Just & Proper Relief: For such other and further relief as the Court

                                                                            2                 deems just and proper.
                                                                            3                               JURY TRIAL DEMANDED
                                                                            4         Plaintiff hereby demands a trial by jury on all issues and causes of action so
                                                                            5   triable.
                                                                            6
                                                                            7   DATED: December 31, 2024                     Respectfully submitted,
                                                                            8                                                CLARKSON LAW FIRM, P.C.
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                                                                            9
                                                                           10                                                 /s/ Yana Hart
                                                                                                                              Ryan Clarkson, Esq.
                                                                           11                                                 Yana Hart, Esq.
                                                                                                                              Mark Richards, Esq.
                                                                           12                                                 Tiara Avaness, Esq.
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